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                       UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF VIRGINIA
                            Charlottesville Division


 ELIZABETH SINES, SETH WISPELWEY,
 MARISSA BLAIR, APRIL MUÑIZ, MARCUS
 MARTIN, NATALIE ROMERO, CHELSEA
 ALVARADO, JOHN DOE, and THOMAS
 BAKER,                                      Civil Action No. 3:17-cv-00072-NKM

                          Plaintiffs,           JURY TRIAL DEMANDED
       v.
 JASON KESSLER, et al.,
                          Defendants.


                  PLAINTIFFS’ PROPOSED JURY INSTRUCTIONS
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                 OVERVIEW OF THE CASE FOR VENIRE BEFORE VOIR DIRE1

            Before we begin the process of juror selection, I wish to give you a general overview of

 this case so that you know what it is about and can better answer my questions.

            This is a civil lawsuit brought by multiple Plaintiffs against multiple Defendants,

 including individuals and organizations, based on events that occurred in Charlottesville,

 Virginia in August of 2017. The Plaintiffs in this case claim that the Defendants and their co-

 conspirators engaged in a conspiracy to commit racially motivated violence at an event the

 Defendants called Unite the Right, which was held in Charlottesville on August 11 and 12,

 2017. In particular, Plaintiffs allege that the Defendants helped to plan, promote, or carry out

 racially motivated violent acts during that event and, in doing so, caused the Plaintiffs physical,

 emotional, and monetary harm. Plaintiffs allege that, as part of that scheme, Defendants and their

 co-conspirators participated in, caused, or approved of violent and harmful conduct against

 Plaintiffs, including a violent torch march on August 11, and various acts of violence on August

 12, including a car attack that drove through a large crowd of people, killing one woman and

 injuring seven of the nine Plaintiffs in this case.

            If you are selected to serve as a juror in this case, you will be asked to decide whether the

 Plaintiffs proved that the Defendants engaged in a conspiracy to commit racially motivated

 violence and harmed Plaintiffs as a result. Later, I will explain these elements of each of

 Plaintiffs’ claims in greater detail to those of you who serve on the jury.

            Now, we will begin the process of selecting a jury to hear this case.




 1
     Johnson v. Holmes, No. 3:16-cv-00016 (W.D. Va. Mar. 19, 2018), ECF No. 83 (Moon, J.).
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                        PRELIMINARY INSTRUCTIONS (BEFORE OPENING)

                               PRELIMINARY INSTRUCTION # X: Parties2

            This is a civil lawsuit. The Plaintiffs are Elizabeth Sines, Seth Wispelwey, Marissa Blair,

 April Muñiz, Marcus Martin, Natalie Romero, Chelsea Alvarado, Devin Willis, and Thomas

 Baker. At times in these instructions and during trial, these individuals will be referred to

 collectively as “the Plaintiffs.” The Defendants are Jason Kessler, Richard Spencer, Christopher

 Cantwell, James Alex Fields, Jr., Vanguard America, Robert “Azzmador” Ray, Nathan Damigo,

 Elliott Kline a/k/a Eli Mosley, Identity Evropa, Matthew Heimbach, Matthew Parrott a/k/a David

 Matthew Parrott, Traditionalist Worker Party, Michael Hill, Michael Tubbs, League of the

 South, Jeff Schoep, and National Socialist Movement.3 They may be referred to individually as

 “a defendant” or collectively as “the Defendants.”




 2
     Johnson v. Holmes, No. 3:16-cv-00016 (W.D. Va. Mar. 19, 2018), ECF No. 83 (Moon, J.).
 3
     Plaintiffs have omitted from this list those Defendants who have defaulted.
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               PRELIMINARY INSTRUCTION # X: Not All Plaintiffs in Courtroom4

            During the proceedings, you may notice that not all Plaintiffs will be physically present

 in the courtroom for every day of trial. You must not consider this fact at all during your

 deliberations or while evaluating the credibility of any witness. As a necessary means to reduce

 the risk of spread of COVID-19, I restricted the total number of persons from the Plaintiffs’ side

 who may be present in the Courtroom at any given time. You must not hold that fact against

 them.




 4
     See Orders regarding Trial Logistics. ECF Nos. 978 & 1146.
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                        PRELIMINARY INSTRUCTION # X: Burden of Proof5

            I now wish to say a few words about the burden of proof which exists in this case.

            In this civil case, Plaintiffs each have the burden of proving their claims against each

 Defendant by what is called a “preponderance of the evidence.” This burden applies to all of

 Plaintiffs’ claims except their claims for intentional infliction of emotional distress, which will

 be discussed later. In the same vein, each Defendant has the burden to prove any affirmative

 defenses that they may advance by a preponderance of the evidence. I will explain this more

 after you have heard all the evidence. For now, keep in mind that if you conclude that a party

 who has the burden of proof on an issue establishes his or her position by a preponderance of the

 evidence, you must decide that issue for the party.

            The term “preponderance of the evidence” means evidence which, as a whole, shows that

 the fact sought to be proven is more probable than not. In other words, a preponderance of the

 evidence means such evidence that persuades you that a fact is more likely true than not true. In

 your mind, you may think of this as 51%—more likely than not.

            In determining whether any fact in issue has been proven by a preponderance of the

 evidence, you may—unless otherwise instructed—consider the testimony of all witnesses,

 regardless of who may have called them, and all exhibits received in evidence, regardless of who

 may have produced them.

            You may have heard of the term “proof beyond a reasonable doubt.” That is a stricter

 standard that is applicable in criminal cases. It does not apply in civil cases such as this. You

 should, therefore, put it out of your minds.




 5
     Johnson v. Holmes, No. 3:16-cv-00016 (W.D. Va. Mar. 19, 2018), ECF No. 83 (Moon, J.).
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                         PRELIMINARY INSTRUCTION # X: Nature of Case6

            I will now provide you with some background information so that you know generally

 what this case is about.

            As I explained during jury selection, Plaintiffs in this case claim that the Defendants and

 their co-conspirators engaged in a conspiracy to commit racially motivated violence at an event

 the Defendants called Unite the Right, which was held in Charlottesville on August 11 and 12,

 2017. In particular, Plaintiffs allege that the Defendants helped plan, promote, or carry out the

 violent events that unfolded during that event, and, in doing so, caused the Plaintiffs physical,

 emotional, and monetary harm. Plaintiffs allege several of the Defendants and their co-

 conspirators, over the course of several months in 2017, organized and anticipated a violent

 event designed to bring together a unified force of white nationalism to Charlottesville to engage

 in racially motivated violence. Plaintiffs allege that, as part of that scheme, Defendants and their

 co-conspirators participated in, caused, or approved of violent and harmful conduct against

 Plaintiffs, including a violent torch march on August 11, and various acts of violence on August

 12, including a car attack on a large crowd of people, killing one woman and injuring seven of

 the nine Plaintiffs in this case.

            Some of the Plaintiffs raise additional claims, including that certain Defendants subjected

 them to acts of intimidation, harassment, violence, and vandalism based on Plaintiffs’ race,

 religion, or ethnicity, and that Defendant James Fields committed assault, battery, negligence per

 se, and intentional infliction of emotional distress. Defendants dispute these claims and contend

 that they should not be held liable for these alleged actions.




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     Johnson v. Holmes, No. 3:16-cv-00016 (W.D. Va. Mar. 19, 2018), ECF No. 83 (Moon, J.).
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                        PRELIMINARY INSTRUCTION # X: Course of Trial I7

            The Plaintiffs’ and the Defendants’ attorneys will have the opportunity to make what is

 called an opening statement. Opening statements are neither evidence nor argument. An opening

 statement is an outline of what that party intends to prove, offered to help you follow the

 evidence. What the attorneys say in their opening statements is not evidence.

            After each party has had an opportunity to make an opening statement, Plaintiffs will

 present their witnesses, and Defendants may cross-examine those witnesses. Then, Defendants

 will have the opportunity to call their witnesses and present their evidence. Plaintiffs may cross-

 examine any of Defendants’ witnesses. After the parties’ main case is completed, Plaintiffs may

 be permitted to present rebuttal evidence.

            Once again, I instruct you that your duty is to consider the evidence and find what the

 facts are. The evidence from which you will find the facts will consist of the testimony of

 witnesses, documents, and other things received into the record as exhibits, and any facts that the

 parties agree are not disputed, or such matters as I may instruct you to find.




 7
     Johnson v. Holmes, No. 3:16-cv-00016 (W.D. Va. Mar. 19, 2018), ECF No. 83 (Moon, J.).
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                       PRELIMINARY INSTRUCTION # X: Course of Trial II8

            During the trial, it may be necessary for me to confer with the parties and their lawyers

 out of your hearing or to conduct a part of the trial out of your presence. I will handle these

 matters as briefly and conveniently for you as I can, but you should remember that they are a

 necessary part of any trial.

            My general procedure is to take one mid-morning break, a lunch break, and a mid-

 afternoon break. However, the trial schedule is not written in stone. If you become

 uncomfortable and need to take a special break, please let me or the court security officer know,

 and a short break will be provided. We want to make sure you are comfortable, so you can

 concentrate on what is being said and properly consider the evidence as it is received.




 8
     Johnson v. Holmes, No. 3:16-cv-00016 (W.D. Va. Mar. 19, 2018), ECF No. 83 (Moon, J.).
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                                PRELIMINARY INSTRUCTION # X: Evidence9

            As I have said, the evidence from which you will find the facts will consist of the

 testimony of witnesses, documents, and other things received into the record as exhibits, and any

 facts that the lawyers agree or stipulate to or that I may instruct you to find.

            Certain things are not evidence and must not be considered by you. I will list them now:

       1. Statements, arguments, and questions by lawyers are not evidence, although the
          witnesses’ answers to the questions of the lawyers are evidence.10

       2. Objections to questions are not evidence. Lawyers have an obligation to their clients to
          make objections when they believe evidence being offered is improper under the rules of
          evidence. You should not be influenced by the objection or by the court’s ruling on it. If
          the objection is sustained, ignore the question. If it is overruled, treat the answer like any
          other. If you are instructed that some item of evidence is received for a limited purpose
          only, you must follow that instruction.

       3. Testimony that the court has excluded or told you to disregard is not evidence and must
          not be considered.

       4. Anything you may have seen or heard outside the courtroom is not evidence and must be
          disregarded. You are to decide the case solely on the evidence presented here in the
          courtroom.




 9
     Johnson v. Holmes, No. 3:16-cv-00016 (W.D. Va. Mar. 19, 2018), ECF No. 83 (Moon, J.).
 10
   4 Modern Federal Jury Instructions, Civil ¶ 74.01 (2021) (“By contrast, the questions of the lawyers are not to be
 considered by you as evidence. It is the witnesses’ answers that are evidence, not the questions.”).
                                                           9
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      PRELIMINARY INSTRUCTION # X: Direct and Circumstantial Evidence; Credibility11

            There are two kinds of evidence: direct and circumstantial. Direct evidence is direct proof

 of a fact, such as testimony of an eyewitness. Circumstantial evidence is proof of facts from

 which you may infer or conclude that other facts exist. I will give you further instructions on

 these as well as other matters at the end of the case, but keep in mind that you may consider both

 kinds of evidence.

            As judges of the facts, it will be up to you to decide which witnesses to believe, which

 witnesses not to believe, and how much of any witness’s testimony to accept or reject. This part

 of a jury’s responsibility is referred to as determining the credibility of witnesses.

            Among the factors you may properly consider in deciding whether a particular witness is

 “credible” (or believable) are:

            1. Whether the witness has any motive or reason for being either truthful or untruthful;

            2. Any interest the witness may have in the outcome of the case;

            3. Whether there is any appearance or indication of bias or prejudice in the witness’s
               testimony or conduct;

            4. The extent to which other evidence supports or contradicts the testimony;

            5. Whether the witness is likely to recall or have knowledge of the facts about which he
               or she is testifying.




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      Johnson v. Holmes, No. 3:16-cv-00016 (W.D. Va. Mar. 19, 2018), ECF No. 83 (Moon, J.).
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                             PRELIMINARY INSTRUCTION # X: Inferences12

            During the trial, you may hear the attorneys use the term “inference,” and in their

 arguments they may ask you to infer, on the basis of your reason, experience, and common

 sense, from one or more established facts, the existence of some other fact.

            An inference is not a suspicion or a guess. It is a reasoned, logical conclusion that a

 disputed fact exists on the basis of another fact which has been shown to exist.

            There are times when different inferences may be drawn from facts, whether proved by

 direct or circumstantial evidence. The Plaintiffs may ask you to draw one set of inferences, while

 the Defendants may ask you to draw another. It is for you, and you alone, to decide what

 inferences you will draw.

            The process of drawing inferences from facts in evidence is not a matter of guesswork or

 speculation. An inference is a deduction or conclusion which you, the jury, are permitted to

 draw—but not required to draw—from the facts which have been established by either direct or

 circumstantial evidence. In drawing inferences, you should exercise your common sense.

            So, while you are considering the evidence presented to you, you are permitted to draw,

 from the facts which you find to be proven, such reasonable inferences as would be justified in

 light of your experience.




 12
      4 Modern Federal Jury Instructions – Civil ¶ 75.01, Instruction No. 75-1 (2021).
                                                            11
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                      PRELIMINARY INSTRUCTION # X: Conduct of Jurors13

            Now, I have a few instructions about your conduct as jurors:

            First, I instruct you that during the trial you are not to discuss the case with anyone or

 permit anyone to discuss it with you. This includes your family, friends, and those with whom

 you work, as well as your fellow jurors. Until you retire to the jury room at the end of the case to

 deliberate on your verdict, you simply are not to talk about this case.

            Second, do not read or listen to anything relating to this case in any way. If anyone

 should try to talk to you about it, bring it to the court’s attention promptly.

            Third, do not try to do any research or make any investigation about the case on your

 own. That includes researching, investigating, or discussing the case in person, in writing, by

 phone or electronic means, via text messaging, e-mail, Facebook, Twitter, blogging, any Internet

 chat room, web site, social media, or any other means.

            Fourth, do not form any opinion until all the evidence is in. Keep an open mind until you

 start your deliberations at the end of the case.

            Finally, if anyone should attempt to discuss this case with you or to approach you

 concerning the case, you immediately should inform me through a written note, or inform one of

 the court security officers. Hold yourself completely apart from the people involved in the

 case—the parties, the witnesses, the attorneys, and persons associated with them.

            If you wish, you may take notes during trial. But if you do, leave them in the jury room

 when you leave at night. And remember that they are for your own personal use. Be careful not

 to get so involved in notetaking that you become distracted and miss part of the testimony. Your

 notes are only to aid your memory, and if your memory later differs from your notes, rely on


 13
      Johnson v. Holmes, No. 3:16-cv-00016 (W.D. Va. Mar. 19, 2018), ECF No. 83 (Moon, J.).
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 your memory. Do not be unduly influenced by the notes of other jurors. A juror’s notes are not

 entitled to any greater weight than the recollection of each juror concerning testimony.




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                      PRELIMINARY INSTRUCTION # X: Use of Technology14

            I know that most of you use cell phones, the Internet, and other tools of technology. You

 must not talk to anyone at any time about this case or use these tools to communicate

 electronically with anyone about the case. As I said, this includes your family and friends.

            As I instructed you before, you may not communicate with anyone about the case

 through any means, including your cell phone, through e-mail, text messaging, on Snapchat,

 Instagram, Twitter, or through any blog or website, including Facebook, LinkedIn, or YouTube.

 You may not use any similar technology or social media, even if I have not specifically

 mentioned it here.

            I expect you will inform me as soon as you become aware of another juror’s violation of

 these instructions. A juror who violates these restrictions jeopardizes the fairness of these

 proceedings, and a mistrial could result, which would require the entire trial process to start over.




 14
      Johnson v. Holmes, No. 3:16-cv-00016 (W.D. Va. Mar. 19, 2018), ECF No. 83 (Moon, J.).
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                       PRELIMINARY INSTRUCTION # X: Use of Depositions15

            Depositions may be received in evidence. A deposition is a witness’s sworn testimony

 that is taken before the trial. During a deposition, the witness is under oath and swears to tell the

 truth, and the lawyers for each party may ask questions. A court reporter is present and records

 the questions and answers. Deposition testimony may be accepted by you, subject to the same

 instructions that apply to witnesses testifying in open court.

            Some of the deposition testimony that you may hear will be a video recording of the

 deposition. Some of the deposition testimony that you may hear will be read out loud by an

 attorney. If the deposition testimony is read out loud, you should not place any significance on

 the behavior or tone of voice of any person reading the questions or answers.




 15
      Hansberger v. L’Italia Restaurant, LLC, No. 5:16-cf-00056-EKD-JCH (W.D. Va. 2017), ECF No. 60 (Dillon, J.).
                                                         15
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                          PRELIMINARY INSTRUCTION # X: Conspiracy

            As I explained to you earlier, Plaintiffs allege that the Defendants in this case engaged in

 a conspiracy to commit racially motivated violence in violation of a federal law, 42 U.S.C.

 § 1985(3), and also in violation of Virginia law. I will give you more detailed instructions on the

 legal requirements to prove these claims after the close of evidence. But before the parties begin

 their opening statements, I want to provide you with a few general instructions regarding the law

 of conspiracy to help you understand the applicable legal principles.

            First, a conspiracy is an agreement between two or more persons to join together to

 accomplish some unlawful purpose.16 It is a kind of unlawful partnership in which each member

 becomes the agent of every other member.17 While the Plaintiffs must prove that the conspiracy

 had an unlawful objective, Plaintiffs need not prove that the conspiracy had only an unlawful

 purpose.18 Co-conspirators may have legal as well as unlawful objectives.19 A conspiracy may

 have several objectives, but if any one of them, even if it is only a secondary objective, is to

 violate the law, then the conspiracy is unlawful.20




 16
    Eric Wm. Ruschky, Pattern Jury Instructions for Federal Criminal Cases, District of South Carolina 61 (2020
 Online Edition) (hereinafter “Ruschky”); United States v. Burnley, No. 6:17-cr-013, Jury Instructions, ECF No. 122,
 at 19 (W.D. Va. Nov. 7, 2018) (Moon, J.); United States v. Stallings, No. 6:17-cr-008, Jury Instructions, ECF No.
 119, at 32 (W.D. Va. Feb. 28, 2019) (Moon, J.); United States v. Bradley, No. 3:16-cr-500008, Jury Instructions,
 ECF No. 495, at 17 (W.D. Va. July 17, 2017) (Moon, J.); see also Simmons v. Poe, 47 F.3d 1370, 1377 (4th Cir.
 1995) (“[A] civil conspiracy under Section 1985 is a combination of two or more persons acting in concert to
 commit an unlawful act.”).
 17
    Ruschky at 61; United States v. Burnley, No. 6:17-cr-013, Jury Instructions, ECF No. 122, at 19 (W.D. Va. Nov.
 7, 2018) (Moon, J.).
 18
   United States v. Bradley, No. 3:16-cr-500008, Jury Instructions, ECF No. 495, at 18 (W.D. Va. July 17, 2017)
 (Moon, J.).
 19
      Id.
 20
      Id.
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          Plaintiffs do not need to prove that the alleged conspirators entered into any formal

 agreement or that they directly stated between themselves all of the details of the scheme.21

 Plaintiffs are not required to produce a written contract or even produce evidence of an express

 oral agreement spelling out all the details of the understanding.22 An informal agreement may be

 sufficient. All Plaintiffs must show is that an overall unlawful objective was shared.23

          Plaintiffs are also not required to show that all the defendants they alleged as members of

 the conspiracy were, in fact, parties to the agreement, or that all of the members of the alleged

 conspiracy were named or alleged in this lawsuit, or that all of the people whom the evidence

 shows were actually members of the conspiracy agreed to all of the means or methods set out in

 the complaint.24

          By its very nature, a conspiracy is clandestine and covert, thereby frequently resulting in

 little evidence of such an agreement.25 Therefore, plaintiffs may prove a conspiracy by

 circumstantial evidence.26 Circumstantial evidence tending to prove a conspiracy may include



 21
   United States v. Bradley, No. 3:16-cr-500008, Jury Instructions, ECF No. 495, at 19 (W.D. Va. July 17, 2017)
 (Moon, J.); United States v. Burnley, No. 6:17-cr-013, Jury Instructions, ECF No. 122, at 24 (W.D. Va. Nov. 7,
 2018) (Moon, J.); United States v. Stallings, No. 6:17-cr-008, Jury Instructions, ECF No. 119, at 32 (W.D. Va. Feb.
 28, 2019) (Moon, J.).
 22
   United States v. Bradley, No. 3:16-cr-500008, Jury Instructions, ECF No. 495, at 19 (W.D. Va. July 17, 2017)
 (Moon, J.); United States v. Burnley, No. 6:17-cr-013, Jury Instructions, ECF No. 122, at 24 (W.D. Va. Nov. 7,
 2018) (Moon, J.); United States v. Stallings, No. 6:17-cr-008, Jury Instructions, ECF No. 119, at 32 (W.D. Va. Feb.
 28, 2019) (Moon, J.).
 23
   5 Modern Federal Jury Instructions – Civil ¶ 87.04, Instruction No. 87-103 (2021); Sines, 324 F. Supp. 3d at 783
 (“It simply must be shown that there was a single plan, the essential nature and general scope of which was known
 to each person who is to be held responsible for its consequences.” (quoting Simmons, 47 F.3d at 1378)).
 24
   United States v. Stallings, No. 6:17-cr-008, Jury Instructions, ECF No. 119, at 32 (W.D. Va. Feb. 28, 2019)
 (Moon, J.).
 25
    Ruschky at 61; Burgos, 94 F.3d at 857 (“By its very nature, a conspiracy is clandestine and covert, thereby
 frequently resulting in little direct evidence of such an agreement.”).
 26
   Ruschky at 61; United States v. Bradley, No. 3:16-cr-500008, Jury Instructions, ECF No. 495, at 19 (W.D. Va.
 July 17, 2017) (Moon, J.).
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 evidence of a Defendant’s relationship with other members of the conspiracy, the length of any

 such association, the Defendant’s attitude and conduct, and the nature of the conspiracy.27

          Second, to prove a conspiracy, the Plaintiffs will have to show that at least one of the

 Defendants took an overt act in furtherance of the conspiracy.28 So what is an overt act? The

 term “overt act” means some type of outward objective action performed by one of the members

 of the conspiracy which evidences that agreement.29 An overt act may be an act which is entirely

 innocent when considered alone, but which is knowingly done in furtherance of some object or

 purpose of the conspiracy.30

          Finally, because there are multiple defendants in this case, you will also need to consider

 which of the Defendants was a member of the conspiracy. One may become a member of a

 conspiracy without knowing all the details of the unlawful scheme or the identities of all the

 other alleged conspirators.31 If a person understands the unlawful nature of a plan or scheme and



 27
   Ruschky at 61; United States v. Bradley, No. 3:16-cr-500008, Jury Instructions, ECF No. 495, at 21 (W.D. Va.
 July 17, 2017) (Moon, J.); Burgos, 94 F.3d at 858 (“Circumstantial evidence tending to prove a conspiracy may
 consist of a defendant’s relationship with other members of the conspiracy, the length of this association, the
 defendant’s attitude and conduct, and the nature of the conspiracy.” (cleaned up)).
 28
   Waller v. Butkovich, 584 F. Supp. 909, 931 (M.D.N.C. 1984) (holding, in a Section 1985(3) case, that plaintiff
 needs to only show “a single overt act by just one of the conspirators”); accord Yates v. Hagerstown Lodge No. 212
 Loyal Order of Moose, 878 F. Supp. 788, 803 (D. Md. 1995); see also United States v. Hale, No. 3:13-cr-280,
 (W.D.N.C.), transcript of Jury Instruction filed in United States v. Hale, 15-4642, Dkt. 16-4, at 426 (4th Cir. Feb. 23,
 2016) (instructing, in a criminal case, that “the government is not required to prove more than one overt act”).
 29
    United States v. Hale, No. 3:13-cr-280, (W.D.N.C.), transcript of Jury Instruction filed in United States v. Hale,
 15-4642, Dkt. 16-4, at 426 (4th Cir. Feb. 23, 2016); see also United States v. Henry, 869 F.2d 595, 1989 WL 14355,
 at *2 (4th Cir. Feb. 21, 1989) (“An overt act is any act knowingly committed by one of the conspirators in an effort
 to effect or accomplish some object or purpose of the conspiracy.”).
 30
    Ruschky at 62; United States v. Fleschner, 98 F.3d 155, 159 (4th Cir. 1996) (“An overt act is any transaction or
 event, even one which may be entirely innocent when considered alone, but which is knowingly committed by a
 conspirator in an effort to accomplish some object of the conspiracy.”).
 31
   United States v. Bradley, No. 3:16-cr-500008, Jury Instructions, ECF No. 495, at 22 (W.D. Va. July 17, 2017)
 (Moon, J.); United States v. Burnley, No. 6:17-cr-013, Jury Instruction, ECF No. 122, at 24 (W.D. Va. Nov. 7, 2018)
 (Moon, J.); United States v. Stallings, No. 6:17-cr-008, Jury Instructions, ECF No. 119, at 32 (W.D. Va. Feb. 28,
 2019) (Moon, J.); Ruschky at 61 (“One may be a member of a conspiracy without knowing the full scope of the
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 knowingly and intentionally joins in that plan or scheme on one occasion, that is sufficient to

 prove that he was a member of the conspiracy even though the person had not participated before

 and even though he played only a minor part.32




 conspiracy, or all of its members, and without taking part in the full range of its activities over the whole period of
 its existence.”).
 32
    United States v. Bradley, No. 3:16-cr-500008, Jury Instructions, ECF No. 495, at 19 (W.D. Va. July 17, 2017)
 (Moon, J.); United States v. Burnley, No. 6:17-cr-013, ECF No. 122, at 24 (W.D. Va. Nov. 7, 2018) (Moon, J.);
 United States v. Stallings, No. 6:17-cr-008, Jury Instructions, ECF No. 119, at 32 (W.D. Va. Feb. 28, 2019) (Moon,
 J.); see also Sines v. Kessler, No. 3:17-cv-00072, 2021 WL 4037502, at *25 n.8 (W.D. Va. Sep. 3, 2021) (“[A]ll that
 need be proven is a defendant joined the conspiracy with an understanding of the unlawful nature thereof and
 willfully joined in the plan on one occasion.” (cleaned up)); see also 3B Fed. Jury Practice & Instructions § 167:50
 (6th ed. 2021) (“If you find plaintiff has proved all of the elements of a conspiracy, then you must find all those
 defendants whom you do find were members of the conspiracy to be liable for damages done to plaintiff . . . ,
 even if one or more of the defendants did not himself take the action.”).
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            PRELIMINARY INSTRUCTIONS (BEFORE PLAINTIFFS’ CASE IN CHIEF)

               PRELIMINARY INSTRUCTION # X: Adverse Inferences & Facts Deemed
                                  Established

          As discussed above, this case is a federal civil action. In this type of case, parties are

 entitled to the disclosure of all relevant, non-privileged evidence the other side possesses or

 controls, including relevant documents and electronically stored information, such as a

 defendant’s computer files, emails, text messages, online chats, social media accounts, and call

 logs. This pre-trial process is known as “discovery.” As part of discovery, Plaintiffs are also

 entitled to take the deposition of each Defendant, which, as mentioned above, means to ask them

 questions under oath. At a deposition, a defendant must give truthful and fulsome responses to

 plaintiffs’ questions.

          During the discovery process in this case, I found, as a matter of law, that Defendants

 Elliott Kline, Robert “Azzmador” Ray, Vanguard America, and Nationalist Socialist Movement

 repeatedly failed to comply with their discovery obligations, including by destroying, failing to

 preserve, or failing to provide Plaintiffs with evidence of communications, documents, and

 electronically stored information relevant to their case.33 I also found that Defendant Ray

 refused to appear for three properly noticed depositions. In addition, I found that, in refusing to

 comply with their discovery obligations, these Defendants acted with bad faith and caused the

 Plaintiffs prejudice. To level the evidentiary playing field that may have been skewed as a result

 of these Defendants’ misconduct, I have issued appropriate sanctions against each of them. As a

 result, you are instructed as to the following.



 33
   Plaintiffs respectfully reserve the right to supplement their proposed adverse inference jury instructions should the
 court subsequently rule on any pending motions for sanctions and/or adverse inferences, including Plaintiffs’
 motions for sanctions and adverse inferences against Defendants Matthew Heimbach, ECF No. 457, and James
 Fields, ECF No. 1003.
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            First, you are instructed that you are permitted, but not required, to infer that Defendants

 Elliott Kline, Robert “Azzmador” Ray, Nationalist Socialism Movement, and Vanguard America

 intentionally withheld or destroyed documents and electronically stored information they were

 required to produce to Plaintiffs because they were aware that such documents and electronically

 stored information contained evidence that they each conspired to plan racially-motivated

 violence at Unite the Right.34

            Second, you are instructed that the following facts are established as true against

 Defendant Elliott Kline for purposes of this case:35

           Defendant Kline was a member of Identity Evropa from April 2017 through at least
            August 2017;

           Defendant Kline was one of the leaders of Identity Evropa from April 2017 through at
            least August 2017;

           Defendant Kline entered into an agreement with one or more coconspirators to plan the
            Unite the Right event that took place in Charlottesville, Virginia on August 11 and 12,
            2017;

           Defendant Kline entered into an agreement with one or more coconspirators to engage in
            racially motivated violence in Charlottesville, Virginia on August 11, 2017;

           Defendant Kline entered into an agreement with one or more coconspirators to engage in
            racially motivated violence at the Unite the Right event in Charlottesville, Virginia on
            August 12, 2017;

           Defendant Kline was motivated by animus against racial minorities, Jewish people, and
            their supporters when conspiring to engage in acts of intimidation and violence on
            August 11 and 12, 2017, in Charlottesville, Virginia;

           It was reasonably foreseeable to Defendant Kline and intended by him that coconspirators
            would commit acts of racially motivated violence and intimidation at the torchlight event
            in Charlottesville, Virginia on August 11, 2017;



 34
      See ECF Nos. 910, 933, 936, 982.
 35
      See ECF No. 910.
                                                     21
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          It was reasonably foreseeable to Defendant Kline and intended by him that coconspirators
           would commit acts of racially motivated violence and intimidation at the Unite the Right
           event in Charlottesville, Virginia on August 12, 2017;

          Defendant Kline attended the torchlight march on August 11, 2017;

          Defendant Kline attended the Unite the Right event on August 12; and

          After the Unite the Right event in Charlottesville, Virginia on August 11 and 12, 2017,
           Defendant Kline ratified the racially motivated violence at the event.

           Third, you are instructed that the followings facts are established as true against

 Defendant Robert “Azzmador” Ray for purposes of this case:36

          Defendant Ray was a writer for The Daily Stormer from at least July 2016 through at
           least March 2020;

          Defendant Ray entered into an agreement with one or more coconspirators to plan the
           Unite the Right event that took place in Charlottesville, Virginia on August 11 and 12,
           2017;

          Defendant Ray entered into an agreement with one or more coconspirators to engage in
           racially motivated violence in Charlottesville, Virginia on August 11, 2017;

          Defendant Ray entered into an agreement with one or more coconspirators to engage in
           racially motivated violence at the Unite the Right event in Charlottesville, Virginia on
           August 12, 2017;

          Defendant Ray was motivated by animus against racial minorities, Jewish people, and
           their supporters when conspiring to engage in acts of intimidation and violence on
           August 11 and 12, 2017, in Charlottesville, Virginia;

          It was reasonably foreseeable to Defendant Ray and intended by him that coconspirators
           would commit acts of racially motivated violence and intimidation at the torchlight event
           in Charlottesville, Virginia on August 11, 2017;

          It was reasonably foreseeable to Defendant Ray and intended by him that coconspirators
           would commit acts of racially motivated violence and intimidation at the Unite the Right
           event in Charlottesville, Virginia on August 12, 2017; and

          Defendant Ray attended the torchlight march on August 11, 2017;



 36
      ECF No. 1106.
                                                    22
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       Defendant Ray attended the Unite the Right event on August 12, 2017;

       After the Unite the Right event in Charlottesville, Virginia on August 11 and 12, 2017,
        Defendant Ray ratified the racially motivated violence that occurred at Unite the Right.

        You are cautioned, however, that each party is entitled to have the case decided solely on

 the evidence that applies to that party. The facts deemed established, which I just listed, are

 admitted only as to Defendants Elliott Kline and Robert “Azzmador” Ray, respectively. Thus,

 taking those facts as true for this case against Elliott Kline and Robert “Azzmador” Ray does not

 relieve Plaintiffs of their burden to prove by a preponderance of the evidence the conduct

 committed by the other Defendants in the case.




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                             PRE-DELIBERATION JURY INSTRUCTIONS

                               INSTRUCTION # X: General Instructions37

 Members of the jury:

            Now that you have heard all of the evidence in the case, it becomes my duty to instruct

 you on the rules of law that you must follow and apply in arriving at your decision. You will

 follow and apply these rules of law after you have heard the final arguments of the lawyers for

 the parties.

            It is your duty as jurors to follow the law as stated in my instructions and to apply the

 rules of law, so given, to the facts as you find them from the evidence in this case, and solely the

 evidence presented to you.

            Counsel may quite properly refer to some of the governing rules of law in their

 arguments. If, however, any difference appears to you between the law as stated by me in these

 instructions, you are governed by the instructions I am about to give you. You must follow all of

 the rules as I explain them to you. You may not follow some and ignore others.

            You are not to single out one instruction alone as stating the law, but must consider the

 instructions as a whole.

            Neither are you to be concerned with the wisdom of any rule of law stated by the Court.

 Regardless of any opinion you may have as to what the law ought to be, it would be a violation

 of your sworn duty to base a verdict upon any other view of the law than that given in the

 instructions; just as it would be a violation of your sworn duty, as judges of the facts, to base a

 verdict upon anything but the evidence in the case. You must not base your verdict on prejudice

 or sympathy, but on the evidence and on the rules of law I have given you.


 37
      Wootten v. Commonwealth, No. 6:14-cv-00013 (W.D. Va. Oct. 19, 2016), ECF No. 208 (Moon, J.).
                                                        24
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        Justice through trial by jury must always depend on the willingness of each individual

 juror to seek the truth as to the facts from the same evidence presented to all the jurors and to

 arrive at a verdict by applying the same rules of law, as given in the instructions of the Court.




                                                  25
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                           INSTRUCTION # X: Role of the Jury & Evidence38

            As stated earlier, it is your duty to determine the facts, and in so doing you must consider

 only the evidence I have admitted in the case. The evidence in the case includes the sworn

 testimony of the witnesses, regardless of who may have called them; all exhibits received in

 evidence, regardless of who may have produced them; and all facts which may have been

 admitted or stipulated.

            Remember that statements, objections, or arguments made by the lawyers are not

 evidence in the case, and you may not consider any question which contained any statement of

 fact as evidence of that fact, unless it was agreed to by the witness. The function of the lawyers is

 to point out those things that are most significant or most helpful to their side of the case, and in

 so doing to call your attention to certain facts or inferences that might otherwise escape your

 notice. In the final analysis, however, it is your own recollection and interpretation of the

 evidence that controls in the case. What the lawyers say is not binding upon you, but you may

 consider a witness’s answers to a lawyer’s questions as evidence.

            Also, during the course of the trial, I occasionally made comments to the lawyers, or

 asked questions of a witness, or admonished a witness concerning the manner in which he or she

 should have responded to the questions of counsel. Do not assume from anything I may have

 done or said during the trial that I have any opinion concerning any of the issues in this case.

 Except for the instructions to you on the law, you should disregard anything I may have said

 during the trial in arriving at your own findings as to the facts.




 38
      Wootten v. Commonwealth, No. 6:14-cv-00013 (W.D. Va. Oct. 19, 2016), ECF No. 208 (Moon, J.).
                                                        26
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                       INSTRUCTION # X: Direct & Circumstantial Evidence39

            While you should consider only the evidence, you are permitted to draw such reasonable

 inferences from the testimony and exhibits as you may feel are justified in the light of common

 experience. In other words, you may make deductions and reach conclusions that reason and

 common sense lead you to draw from the facts which have been established by the evidence.

            You should not be concerned about whether the evidence is direct or circumstantial.

 “Direct evidence” is the testimony of one who asserts actual knowledge of a fact, such as an

 eyewitness. “Circumstantial evidence” is proof of a chain of events and circumstances indicating

 that something is or is not a fact.

            The law makes no distinction between the weight you may give to either direct or

 circumstantial evidence. It only requires that you weigh all of the evidence in reaching your

 verdict.




 39
      Wootten v. Commonwealth, No. 6:14-cv-00013 (W.D. Va. Oct. 19, 2016), ECF No. 208 (Moon, J.).
                                                        27
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                                     INSTRUCTION # X: Credibility40

            It is your job to decide if a party with the burden of proof on an issue has proven that

 issue by a preponderance of the evidence. In doing so, you must consider all of the evidence.

 This does not mean, however, that you must accept all of the evidence as true or accurate.

 You are the sole judges of the credibility or “believability” of each witness and the weight to be

 given the witness’s testimony. An important part of your job will be making judgments about the

 testimony of the witnesses who testified in this case. You should decide whether you believe all

 or any part of what each person had to say, and how important that testimony was.

            In making that decision you should consider:

           Did the witness impress you as honest?

           Did the witness have any particular reason not to tell the truth?

           Did the witness have a personal interest in the outcome of the case?

           Did the witness have any relationship with either the plaintiff or the defense?

           Did the witness seem to have a good memory?

           Did the witness clearly see or hear the things about which he testified?

           Did the witness have the opportunity and ability to understand the questions clearly and
            answer them directly?

           Did the witness’s testimony differ from the testimony of other witnesses or other
            evidence in the case?

            These are a few of the considerations that will help you determine the accuracy of what

 each witness said.

            Your job is to think about the testimony of each witness you have heard and decide how

 much you believe of what each witness had to say. In making up your mind and reaching a


 40
      Wootten v. Commonwealth, No. 6:14-cv-00013 (W.D. Va. Oct. 19, 2016), ECF No. 208 (Moon, J.).
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 verdict, do not make any decisions simply because there were more witnesses on one side than

 on the other. Do not reach a conclusion on a particular point just because there were more

 witnesses testifying for one side on that point.




                                                    29
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                                   INSTRUCTION # X: Impeachment41

            The testimony of a witness may be discredited or “impeached” by showing that the

 witness testified falsely, or by evidence that at some other time the witness said or did

 something, or failed to say or do something, which is inconsistent with the testimony the witness

 gave at this trial.




 41
      Wootten v. Commonwealth, No. 6:14-cv-00013 (W.D. Va. Oct. 19, 2016), ECF No. 208 (Moon, J.).
                                                        30
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                       INSTRUCTION # X: Testimony of Government Officials42

            During this trial you have heard the testimony of a number of witnesses, some of whom

 are employees of the state, law enforcement officers, and ordinary civilians. The testimony of a

 government employee, or a law enforcement officer, is not necessarily deserving of more or less

 consideration, or greater or lesser weight, than that of an ordinary civilian witness.




 42
      Wootten v. Commonwealth, No. 6:14-cv-00013 (W.D. Va. Oct. 19, 2016), ECF No. 208 (Moon, J.).
                                                        31
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                                  INSTRUCTION # X: Burden of Proof43

            As I explained to you at the beginning of the trial, unless otherwise instructed, Plaintiffs

 bear the burden of proving all of their claims against Defendants (except their claim for

 intentional infliction of emotional distress, which will be discussed later) by what is called a

 “preponderance of the evidence.” In the same vein, each Defendant has the burden to prove any

 affirmative defenses that they may advance by a preponderance of the evidence.

            The term “preponderance of the evidence” means evidence which, as a whole, shows that

 the fact sought to be proven is more probable than not. In other words, a preponderance of the

 evidence means such evidence that persuades you that a fact is more likely true than not true. In

 your mind, you may think of this as 51%—more likely than not.

            You may have heard of the term “proof beyond a reasonable doubt.” That is a stricter

 standard that is applicable in criminal cases. It does not apply in civil cases such as this. You

 should, therefore, put it out of your minds.

            In determining whether any fact in issue has been proven by a preponderance of the

 evidence, you may—unless otherwise instructed—consider the testimony of all witnesses,

 regardless of who may have called them, and all exhibits received in evidence, regardless of who

 may have produced them.

            If you conclude that a party who has the burden of proof on an issue establishes his or her

 position by a preponderance of the evidence, you must decide that issue for the party.




 43
      Johnson v. Holmes, No. 3:16-cv-00016 (W.D. Va. Mar. 19, 2018), ECF No. 83 (Moon, J.).
                                                         32
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                          INSTRUCTION # X: Foreperson and Verdict Form44

            Upon retiring to the jury room, you should first select one of your members to act as your

 foreperson who will preside over your deliberations and will be your spokesperson here in court.

 One verdict form has been prepared for your convenience.

            You will take the verdict form to the jury room and when you have reached a unanimous

 agreement as to your verdict, you will have the foreperson fill it in, date and sign it, and then

 return to the courtroom.

            If, during your deliberations, you should desire to communicate with the Court, please

 reduce your message or question to writing, signed by the foreperson, and pass the note to the

 marshal who will bring it to my attention. I will then respond as promptly as possible, either in

 writing or by having you return to the courtroom so I can address you orally. I caution you,

 however, with regard to any message or question you might send, that you should never state or

 specify your numerical division at the time.




 44
      Wootten v. Commonwealth, No. 6:14-cv-00013 (W.D. Va. Oct. 19, 2016), ECF No. 208 (Moon, J.).
                                                        33
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                INSTRUCTION # X: Unanimous Verdict & Jury Deliberations

        Any verdict must represent the considered judgment of each juror. In order to return a

 verdict, it is necessary that each jury agree to it. In other words, your verdict must be unanimous.

        It is your duty as jurors to consult with one another and to deliberate in an effort to reach

 a consensus if you can do so without violating your individual judgment. Each of you must

 decide the case for yourself, but only after an impartial consideration of the evidence in the case

 with your fellow jurors. In the course of your deliberation, do not hesitate to re-examine your

 own views and change your opinion if convinced it is erroneous. But do not surrender your

 honest conviction as to the weight or effect of the evidence solely because of the opinion of your

 fellow jurors, or for the mere purpose of returning a verdict.

        Remember, at all times, you are not partisans. You are judges—judges of the facts. Your

 sole interest is to seek the truth from the evidence in the case.




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                                  INSTRUCTION # X: Expert Opinions45

            The rules of evidence provide that if scientific, technical, or other specialized knowledge

 might assist the jury in understanding the evidence or in determining a fact in issue, a witness

 qualified as an expert by knowledge, skill, expertise, training, or education, may testify and state

 his or her opinion concerning such matters. During the trial, you heard from expert witnesses.

            You should consider each expert opinion received in this case and give it such weight as

 you may think it deserves. If you should decide that the opinion of an expert witness is not based

 upon sufficient education and experience, or if you should conclude that the reasons given in

 support of the opinion are not sound, or that the opinion is outweighed by other evidence, then

 you may disregard the opinion.




 45
      Scott v. Slagle, No. 6:12-cv-00013-NKM-RSB (2013) (Moon, J.).
                                                        35
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                           INSTRUCTION # X: Matters Stricken by Court46

            You must not consider any matter that was stricken by the Court. It is not evidence and

 should be disregarded.




 46
      English v. Rummel, No. 6:17-cv-00018-NKM-RSB (2021) (Moon, J.).
                                                       36
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                           INSTRUCTION # X: Deposition Testimony47

         A deposition is a witness’s sworn testimony that is taken before the trial. During a

 deposition, the witness is under oath and swears to tell the truth, and the lawyers for each party

 may ask questions. A court reporter is present and records the questions and answers.

         During trial, you heard the deposition testimony of various witnesses. Deposition

 testimony is entitled to the same consideration as live testimony, and you must judge it the same

 way as if the witness was testifying in court.

         Some of the deposition testimony that you heard was a video recording of the deposition.

 Other deposition testimony that you heard may have been read out loud by an attorney. If the

 deposition testimony is read out loud, you should not place any significance on the behavior or

 tone of voice of any person reading the questions or answers.




 47
   Adapted from Hansberger v. L’Italia Restaurant, LLC, No. 5:16-cf-00056-EKD-JCH (W.D. Va. 2017), ECF No.
 60 (Dillon, J.).
                                                    37
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      INSTRUCTION # X: Invocation of the Fifth Amendment Privilege by Defendant48

         Any person who becomes a witness, including a party, is required to answer all proper

 questions unless the Court rules that the witness may decline to testify or answer. Under the

 United States Constitution, a person has the right to refuse to answer questions that may tend to

 incriminate him or her in criminal activity. You may have heard of this as someone invoking

 their “Fifth Amendment” privilege.

         During the trial, you heard [Insert Defendant(s)] decline to testify or answer certain

 questions on the grounds of his Fifth Amendment privilege against self-incrimination. You may

 decide whether to infer that the withheld testimony or answer would have been unfavorable to

 [Insert Defendant(s)].

         Any inference you may draw should be based upon all of the facts and circumstances in

 this case as you may find them.




 48
   Adapted from Modern Federal Jury Instructions – Civil (2010) ¶ 75.01, Instruction 75-5, and ABA Model Jury
 Instructions in Civil Antitrust Cases, Ch. 7(B) Instr. 1 at p. 348 (2016).
                                                       38
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      INSTRUCTION # X: Invocation of Fifth Amendment Privilege by Non-Party Witness49

          As I just noted, under the Fifth Amendment of the United States Constitution, a person

 has the right to refuse to answer questions that may tend to incriminate him in criminal activity.

 During this case, you may have heard testimony, including deposition testimony, from a non-

 party witness who refused to testify or answer questions by exercising his Fifth Amendment

 privilege against self-incrimination.

          With respect to that witness’s refusal to testify, you may, but are not required to, infer

 that his testimony would have been unfavorable to a Defendant associated with that witness if

 you find that the witness is sufficiently associated with that Defendant so as to justify the adverse

 inference. Whether the witness is sufficiently associated with a party to justify an adverse

 inference depends upon all the circumstances of the case. For example, a witness who is a past or

 present employee, officer or agent of a party may be, but is not necessarily, sufficiently

 associated with that party to justify an adverse inference. Likewise, a coconspirator may be

 sufficiently associated with a party to permit the drawing of an inference adverse to the party if

 the coconspirator refuses to testify.

           If, however, you find that the witness is not sufficiently associated with the party, you

 are instructed that you are not to attach any significance to the that witness’s refusal to testify. In

 other words, you should not make any assumption or speculate why the witness chose to exercise

 his constitutional privilege. In addition, if the witness is not sufficiently associated with either of




 49
    Adapted from ABA Model Jury Instructions in Civil Antitrust Cases, Ch. 7(B) Instr. 2 at p. 350 (2016), and
 statements of law in United States v. Mallory, 988 F.3d 730, 740 (4th Cir. 2021) (“And a ‘non-party’s silence in a
 civil proceeding implicates Fifth Amendment concerns to an even lesser degree’ than a party’s invocation of the
 privilege.) (quoting Libutti v. United States, 107 F.3d 110 (2d Cir. 1997)) and Auto-Owners Ins. Co. v. Newsome,
 Civ. A. No. 4:12-cv-00447, 2013 WL 5797729, at *4 n.5 (D.S.C. Oct. 25, 2013).
                                                          39
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 the parties, you are not to infer anything adverse or unfavorable to either party in the case

 because the witness refused to testify.




                                                  40
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                                                       CLAIMS

      INSTRUCTION # X: Conspiracy To Commit Racially Motivated Violence - 42 U.S.C.
                                     § 1985(3)50

          Plaintiffs claim that Defendants conspired to commit racially motivated violence in

 violation of 42 U.S.C. § 1985(3). To prove this claim, Plaintiffs must prove:

      1. First: The existence of a conspiracy of two or more persons;

      2. Second: The persons involved in that conspiracy were motivated, in whole or part, by

          animus against Black or Jewish individuals, or motivated, in whole or part, because

          Plaintiffs were advocates or supporters of Black and Jewish individuals;51

      3. Third: The purpose of the conspiracy was to engage in racially motivated violence;52

      4. Fourth: At least one person involved in the conspiracy took an overt act in furtherance of

          the conspiracy;

      5. Fifth: As a result of the conspiracy, Plaintiffs were injured.53

 I will take these elements in turn.




 50
    Adapted from statements of law in Sines v. Kessler, 324 F. Supp. 3d 765, 780 (W.D. Va. 2018) (Moon, J.) (listing
 five elements Plaintiffs must allege to state a Section 1985(3) claim (citing A Soc’y Without A Name v. Virginia, 655
 F.3d 342, 346 (4th Cir. 2011), and Simmons v. Poe, 47 F.3d 1370, 1376 (4th Cir. 1995))); and from 5 Modern
 Federal Jury Instructions – Civil ¶ 87.04, Instruction No. 87-102 (2021) (pattern jury instructions for 42 U.S.C.
 § 1985(3)).
 51
   Sines, 324 F. Supp. 3d at 781 (“Plaintiffs have plausibly alleged that they were attacked because of their support
 of non-white racial minorities, and so this element is satisfied as to all Defendants.”); 5 Modern Federal Jury
 Instructions – Civil ¶ 87.04, Instruction No. 87-107 (2021) (“But if the plaintiff is an advocate for or a supporter of
 the class, that plaintiff, too, is sufficiently related to the class to be protected.”).
 52
   Id. at 784 (“Plaintiffs must allege each Defendant entered into an agreement with a specific co-conspirator to
 engage in racially motivated violence at the August 11th and 12th events.”).
 53
   Id. at 795 (“Plaintiffs must also plausibly allege they suffered injuries caused by Defendants’ overt acts taken in
 furtherance of the conspiracy.”).
                                                            41
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                INSTRUCTION # X: 42 U.S.C. § 1985(3) – Existence of a Conspiracy

            The first element is the existence of a conspiracy. A conspiracy is an agreement between

 two or more persons to join together to accomplish some unlawful purpose.54 It is a kind of

 unlawful partnership in which each member becomes the agent of every other member.55 While

 the Plaintiffs must prove that the conspiracy had an unlawful objective, Plaintiffs need not prove

 that the conspiracy had only an unlawful purpose.56 Co-conspirators may have legal as well as

 unlawful objectives.57 A conspiracy may have several objectives, but if any one of them, even if

 it is only a secondary objective, is to violate the law, then the conspiracy is unlawful.58

            Plaintiffs do not need to prove that the alleged conspirators entered into any formal

 agreement or that they directly stated between themselves all of the details of the scheme.59

 Plaintiffs are not required to produce a written contract or even produce evidence of an express

 oral agreement spelling out all the details of the understanding.60 An informal agreement may be



 54
    Ruschky at 61; United States v. Burnley, No. 6:17-cr-013, Jury Instructions, ECF No. 122, at 19 (W.D. Va. Nov.
 7, 2018) (Moon, J.); United States v. Stallings, No. 6:17-cr-008, Jury Instructions, ECF No. 119, at 32 (W.D. Va.
 Feb. 28, 2019) (Moon, J.); United States v. Bradley, No. 3:16-cr-500008, Jury Instructions, ECF No. 495, at 17
 (W.D. Va. July 17, 2017) (Moon, J.); Poe, 47 F.3d at 1377 (“[A] civil conspiracy under section 1985 is a
 combination of two or more persons acting in concert to commit an unlawful act.”).
 55
    Ruschky at 61; United States v. Burnley, No. 6:17-cr-013, Jury Instructions, ECF No. 122, at 19 (W.D. Va. Nov.
 7, 2018) (Moon, J.).
 56
   United States v. Bradley, No. 3:16-cr-500008, Jury Instructions, ECF No. 495, at 18 (W.D. Va. July 17, 2017)
 (Moon, J.).
 57
      Id.
 58
      Id.
 59
   Id. at 19; United States v. Burnley, No. 6:17-cr-013, Jury Instructions, ECF No. 122, at 24 (W.D. Va. Nov. 7,
 2018) (Moon, J.); United States v. Stallings, No. 6:17-cr-008, Jury Instructions, ECF No. 119, at 32 (W.D. Va. Feb.
 28, 2019) (Moon, J.).
 60
   United States v. Bradley, No. 3:16-cr-500008, Jury Instructions, ECF No. 495, at 19 (W.D. Va. July 17, 2017)
 (Moon, J.); United States v. Burnley, No. 6:17-cr-013, Jury Instructions, ECF No. 122, at 24 (W.D. Va. Nov. 7,
 2018) (Moon, J.); United States v. Stallings, No. 6:17-cr-008, Jury Instructions, ECF No. 119, at 32 (W.D. Va. Feb.
 28, 2019) (Moon, J.).
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 sufficient. The conspiracy does not need a discrete identifiable organizational structure.61 The

 fact that conspiracy is loosely-knit, haphazard, or ill-conceived does not render it any less a

 conspiracy.62 All Plaintiffs must show is that the overall objective was shared.63

          Plaintiffs are also not required to show that all the defendants they alleged as members of

 the conspiracy were, in fact, parties to the agreement, or that all of the members of the alleged

 conspiracy were named or alleged in this lawsuit, or that all of the people whom the evidence

 shows were actually members of the conspiracy agreed to all of the means or methods that

 Plaintiffs allege.64

          By its very nature, a conspiracy is clandestine and covert, thereby frequently resulting in

 little evidence of such an agreement.65 Therefore, plaintiffs may prove a conspiracy by

 circumstantial evidence.66 Circumstantial evidence tending to prove a conspiracy may include

 evidence of a Defendant’s relationship with other members of the conspiracy, the length of any

 such association, the Defendant’s attitude and conduct, and the nature of the conspiracy.67



 61
   Ruschky at 61; see also Burgos, 94 F.3d at 858 (“[I]t it is not necessary to proof [sic] of a conspiracy that it have a
 discrete, identifiable organizational structure.” (citation omitted)).
 62
   Ruschky at 61; see also Burgos, 94 F.3d at 858 (“Thus, while many conspiracies are executed with precision, the
 fact that a conspiracy is loosely-knit, haphazard, or ill-conceived does not render it any less a conspiracy—or any
 less unlawful.”).
 63
   5 Modern Federal Jury Instructions– Civil ¶ 87.04, Instruction No. 87-103 (2021); Sines, 324 F. Supp. 3d at 783
 (“It simply must be shown that there was a single plan, the essential nature and general scope of which was known
 to each person who is to be held responsible for its consequences.” (cleaned up)).
 64
   United States v. Stallings, No. 6:17-cr-008, Jury Instructions, ECF No. 119, at 32 (W.D. Va. Feb. 28, 2019)
 (Moon, J.).
 65
    Ruschky at 61; Burgos, 94 F.3d at 857 (“By its very nature, a conspiracy is clandestine and covert, thereby
 frequently resulting in little direct evidence of such an agreement.”).
 66
   Ruschky at 61; United States v. Bradley, No. 3:16-cr-500008, Jury Instructions, ECF No. 495, at 19 (W.D. Va.
 July 17, 2017) (Moon, J.).
 67
   Ruschky at 61; United States v. Bradley, No. 3:16-cr-500008, Jury Instructions, ECF No. 495, at 21 (W.D. Va.
 July 17, 2017) (Moon, J.); see also Burgos, 94 F.3d at 858 (“Circumstantial evidence tending to prove a conspiracy
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          Simply put, to find that an agreement existed between conspirators, you must be

 convinced, by a preponderance of the evidence, that there was a mutual understanding, either

 spoken or unspoken, between the conspirators to commit at least one unlawful act.68 If Plaintiffs

 establish that at least two Defendants agreed to act toward a common unlawful goal, the fact that

 the conspiracy was made up of persons from allegedly rival groups does not disprove the

 conspiracy’s existence.69




 may consist of a defendant’s relationship with other members of the conspiracy, the length of this association, the
 defendant’s attitude and conduct, and the nature of the conspiracy.” (cleaned up)).
 68
   United States v. Bradley, No. 3:16-cr-500008, Jury Instructions, ECF No. 495, at 19 (W.D. Va. July 17, 2017)
 (Moon, J.).
 69
   See Simmons, 11 F.4th at 264 (“To the extent that [D]efendants seek to establish a legal principle that members of
 warring factions within an umbrella conspiracy necessarily lack the unity of interest to be conspirators in the
 umbrella conspiracy, we reject that principle.” (quoting United States v. Marino, 277 F.3d 11, 25 (1st Cir. 2002));
 United States v. Delacruz, 865 F.3d 1000, 1005 (8th Cir. 2017) (“A single conspiracy may exist despite being
 composed of multiple groups, even when those groups compete.”).
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                            INSTRUCTION # X: Membership in the Conspiracy

            Because there are multiple defendants in this case, you will also need to consider which

 of the Defendants was a member of the conspiracy. One may become a member of a conspiracy

 without knowing all the details of the unlawful scheme or the identities of all the other alleged

 conspirators.70 If a person understands the unlawful nature of a plan or scheme and knowingly

 and intentionally joins in that plan or scheme on one occasion, that is sufficient to prove him a

 being a member of the conspiracy even though the person had not participated before and even

 though he played only a minor part.71

            The extent of a Defendant’s participation has no bearing on the issue of a Defendant’s

 membership. A conspirator’s membership is not measured by the extent or duration of his

 participation.72 Indeed, each member may perform separate and distinct acts and may perform

 them at different times. Some conspirators play major roles, while others play minor parts in the




 70
    United States v. Bradley, No. 3:16-cr-500008, Jury Instructions, ECF No. 495, at 22 (W.D. Va. July 17, 2017)
 (Moon, J.); United States v. Burnley, No. 6:17-cr-013, Jury Instruction, ECF No. 122, at 24 (W.D. Va. Nov. 7, 2018)
 (Moon, J.); United States v. Stallings, No. 6:17-cr-008, Jury Instructions, ECF No. 119, at 32 (W.D. Va. Feb. 28,
 2019) (Moon, J.); Ruschky at 61 (“One may be a member of a conspiracy without knowing the full scope of the
 conspiracy, or all of its members, and without taking part in the full range of its activities over the whole period of
 its existence.”).
 71
    United States v. Bradley, No. 3:16-cr-500008, Jury Instructions, ECF No. 495, at 19 (W.D. Va. July 17, 2017)
 (Moon, J.); United States v. Burnley, No. 6:17-cr-013, ECF No. 122, at 24 (W.D. Va. Nov. 7, 2018) (Moon, J.);
 United States v. Stallings, No. 6:17-cr-008, Jury Instructions, ECF No. 119, at 32 (W.D. Va. Feb. 28, 2019) (Moon,
 J.); see also Sines, 2021 WL 4037502, at *25 n.8 (“[A]ll that need be proven is a defendant joined the conspiracy
 with an understanding of the unlawful nature thereof and willfully joined in the plan on one occasion.” (cleaned
 up)); 3B Fed. Jury Practice & Instructions § 167:50 (6th ed. 2021) (“If you find plaintiff has proved all of the
 elements of a conspiracy, then you must find all those defendants whom you do find were members of the
 conspiracy to be liable for damages done to plaintiff . . . , even if one or more of the defendants did not himself
 take the action.”)
 72
      1 Modern Federal Jury Instructions, Criminal ¶ 19.01, Instruction No. 19-6 (2021).

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 scheme.73 An equal role is not what the law requires. In fact, even a single act may be sufficient

 to draw the defendant within the ambit of the conspiracy.74

            Moreover, once a conspiracy is established, even a slight connection between the

 defendant and the conspiracy could be sufficient to include him in the plan.75 To be clear, that

 does not mean that Plaintiffs’ burden of proof is “slight.” Before the jury may find that a

 defendant, or any other person, became a member of the conspiracy, the evidence in the case

 must show by a preponderance of the evidence that the defendant knew the purpose or goal of

 the agreement or understanding of that conspiracy and then deliberately entered into the

 agreement, intending in some way to accomplish the goal or purpose by this common plan or

 joint action.76

            In proving a Defendant’s membership in the conspiracy, Plaintiffs may rely on all direct

 and circumstantial evidence, including the nature of the conspiracy, the Defendant’s association


 73
      Id.
 74
      Id.
 75
    Ruschky at 61 (“Once it has been show that a conspiracy exists, the evidence need only establish a slight
 connection between the defendant and the conspiracy”); United States v. Hale, 3:13-cr-280, (W.D.N.C.), transcript
 of Jury Instruction filed in United States v. Hale, 15-4642, Dkt. 16-4, at 423-424 (4th Cir. Feb. 23, 2016)
 (“Moreover, once a conspiracy is established, even a slight connection between the defendant and the conspiracy
 could be sufficient to include him in the plan.”); see also Hale, 857 F.3d at 173 (“Hale also contends that the district
 court erred in instructing the jury on conspiracy law. We conclude, however, that the court accurately instructed the
 jury that, once a conspiracy is established, even a slight connection between the defendant and the conspiracy could
 be sufficient to include him in the plan.” (quotation marks and citation omitted)); Cain, 586 F. App’x at 105-106
 (“Cain first contends that the district court erred in using the word ‘slight’ when instructing the jury on what is
 required to find that a defendant participated in a conspiracy. Specifically, the district court instructed the jury that
 ‘[a] defendant’s connection to the conspiracy can be slight’; and ‘the Defendant must have participated in some way,
 however, slight, with knowledge of at least some of the purposes or objectives of the conspiracy and with the
 intention of aiding in the accomplishment of those unlawful ends.’ . . . Based on our review, we conclude that
 the district court correctly stated the applicable law.”); see also Seigler, 990 F.3d at 337 (“[U]pon establishing the
 conspiracy, only a slight connection need be made linking a defendant to the conspiracy to support a conspiracy
 conviction.” (citation omitted)); Ath, 951 F.3d at 186; Brown, 811 F. App’x at 824; Hassan, 742 F.3d at 140; Fields,
 571 F. App’x at 242; Burgos, 94 F.3d at 861; Brooks, 957 F.2d at 1147; Seni, 662 F.2d at 284 n.7.
 76
   United States v. Stallings, No. 6:17-cr-008, Jury Instructions, ECF No. 119, at 33 (W.D. Va. Feb. 28, 2019)
 (Moon, J.).

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 to other members of the conspiracy, the Defendant’s conduct before, during, and after the

 relevant events,77 the Defendant’s presence at the scene of events, 78 and any encouragement or

 ratification of a Defendant’s acts by members of the conspiracy.79




 77
    United States v. Landersman, 886 F.3d at 406 (noting that participation “can be shown by circumstantial evidence
 such as [a Defendant’s] relationship with other members of the conspiracy, the length of this association, his
 attitude, conduct, and the nature of the conspiracy” (citation omitted)).
 78
    Burgos, 94 F.3d at 869 (“[P]resence at the scene of criminal activity is material and probative in the totality of the
 circumstances in determining his participation in a conspiracy.” (cleaned up)).
 79
   Good v. Hartford Acc. & Indem. Co., 39 F. Supp. 475, 480 (W.D.S.C. 1941) (“The law permits great latitude in
 the admission of circumstantial evidence tending to prove a conspiracy, and to connect those advising, encouraging,
 aiding, abetting and ratifying the overt acts committed for the purpose of carrying into effect the objects of the
 conspiracy, I must consider every fact which has a bearing on any tendency to prove the ultimate fact in issue.”
 (citing 15 C.J.S. Conspiracy § 29)).
                                                            47
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                       INSTRUCTION # X: 42 U.S.C. § 1985(3) – Racial Animus

          The second element is that Plaintiffs must prove that the Defendants were motivated by

 some discriminatory animus. In this case,80 this means that Plaintiffs must prove that Defendants

 were motivated either by dislike or hate for Black or Jewish people, or by hatred or dislike

 toward persons because of their advocacy or support for Black or Jewish people.81 This

 discriminatory reason does not have to be the sole basis for the Defendant’s dislike or hate of the

 Plaintiffs. As long as the dislike or hatred is not wholly personal to a specific individual, that is,

 as long as there is some intent to discriminate against Black people, Jewish people, or their

 supporters, as a class, you may find that the Defendants acted with sufficient discriminatory

 animus. If you find that the Defendants acted, at least in part,82 with at least one of these types of

 discriminatory animus, you must find for the Plaintiffs on this element even if Defendants also

 possessed some other motive, such as a desire to join together for mutual protection. That is

 because, as mentioned above, co-conspirators may have legal as well as unlawful objectives.83




 80
    This instruction was adapted from the instructions set out in 5 Modern Federal Jury Instructions – Civil ¶ 87.04,
 Instruction No. 87-106 (2021), which provides:
          If the plaintiff establishes that defendant(s) entered a conspiracy or agreement to deprive him of
          certain rights, the plaintiff must also prove, by a preponderance of evidence, that the defendant(s)
          did so because the plaintiff belonged to or was somehow associated with a group of people, here
          [identify the class], that the defendant disliked or hated. This discriminatory reason does not have
          to be the sole basis for the defendant’s (s’) dislike of the plaintiff. As long as the dislike or hatred
          is not wholly personal, that is, as long as there is some intent to discriminate against [identify the
          class] as a class, the defendant(s) can be found to have acted with sufficient discriminatory intent.
 81
   Sines, 324 F. Supp. 3d at 780-781 (“Plaintiffs have plausibly alleged that they were attacked because of their
 support of non-white racial minorities, and so this element is satisfied as to all Defendants.”).
 82
   Bray v. Alexandria Women’s Health Clinic, 506 U.S. 263, 275-276 (1993) (“[T]he ‘invidiously discriminatory
 animus’ requirement . . . requires that the defendant have taken his action at least in part because of, not merely
 in spite of, its adverse effects upon an identifiable group.” (quotation marks and citation omitted) (emphasis added)).
 83
   United States v. Bradley, No. 3:16-cr-500008, Jury Instructions, ECF No. 495, at 18 (W.D. Va. July 17, 2017)
 (Moon, J.).
                                                             48
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               INSTRUCTION # X: 42 U.S.C. § 1985(3) – Purpose of the Conspiracy

      The purpose of 42 U.S.C. § 1985(3) is to deter two or more people from conspiring to

 deprive persons of their rights because they are members of a racial group or supporters of the

 rights of racial minorities.84 In this case, Plaintiffs allege that the Defendant interfered with their

 Thirteenth Amendment right to be free from racially-motivated violence.85 If you find that

 Plaintiffs have shown by a preponderance of the evidence that this right has been violated, you

 must find for the Plaintiffs on the third element of their claim, which requires that they prove that

 the purpose of the conspiracy was to deprive them of their right to be free from racially

 motivated violence.86




 84
   5 Modern Federal Jury Instructions– Civil ¶ 87.04, Instruction No. 87-101 (2021) (“The main purpose of Section
 1985(3) is to deter two or more people from conspiring to deprive someone of his rights because he is a member of a
 racial group or other similar grouping.”).
 85
    5 Modern Federal Jury Instructions– Civil ¶ 87.04, Instruction No. 87-105 (2021) (“The plaintiff alleges that the
 defendant interfered with his right to [identify the right alleged to have been abridged]. The defendant’s right to
 [repeat identification] was violated if [instruct on the specific substantive right].”); Sines, 324 F. Supp. 3d at 782
 (“The Court concludes the Thirteenth Amendment provides Plaintiffs an underlying right to be free from racial
 violence.”).
 .”).
 86
   5 Modern Federal Jury Instructions– Civil ¶ 87.04, Instruction No. 87-105 (2021) (“If you find that the plaintiff
 has not shown by a preponderance of the evidence that this right has been violated, you must find for the
 defendant.”); Sines, 324 F. Supp. 3d at 784 (“Plaintiffs must allege each Defendant entered into an agreement with a
 specific co-conspirator to engage in racially motivated violence at the August 11th and 12th events.”).
                                                           49
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                          INSTRUCTION # X: 42 U.S.C. § 1985(3) – Overt Act

          The fourth element is that at least one of the Defendants took an overt act in furtherance

 of the conspiracy. So what is an overt act? The term “overt act” means some type of outward

 objective action performed by one of the members of the conspiracy which evidences that

 agreement.87 An overt act may be an act which is entirely innocent when considered alone, but

 which is knowingly done in furtherance of some object or purpose of the conspiracy.88 All

 Plaintiffs must prove is a single overt act by just one of the conspirators.89




 87
   United States v. Hale, 3:13-cr-280, (W.D.N.C.), transcript of Jury Instruction filed in United States v. Hale, 15-
 4642, Dkt. 16-4, at 426 (4th Cir. Feb. 23, 2016); see also Henry, 1989 WL 14355, at *2 (“An overt act is any act
 knowingly committed by one of the conspirators in an effort to effect or accomplish some object or purpose of the
 conspiracy.”).
 88
   Ruschky at 62; Fleschner, 98 F.3d at 159 (“An overt act is any transaction or event, even one which may be
 entirely innocent when considered alone, but which is knowingly committed by a conspirator in an effort to
 accomplish some object of the conspiracy.”).
 89
   Waller, 584 F. Supp. at 931 (holding, in a Section 1985(3) case, that plaintiff needs to only show “a single overt
 act by just one of the conspirators”); accord Yates, 878 F. Supp. at 803; see also Kennedy v. McDonald’s Corp., 610
 F. Supp. 203, 205 (S.D. W. Va. 1985); cf. United States v. Cardwell, 433 F.3d 378, 391 (4th Cir. 2005) (under the
 general criminal conspiracy statute, “each co-conspirator need not take an overt act in order to be convicted of
 conspiracy so long as one conspirator does so”); see also United States v. Hale, 3:13-cr-280, (W.D.N.C.), transcript
 of Jury Instruction filed in United States v. Hale, 15-4642, Dkt. 16-4, at 426 (4th Cir. Feb. 23, 2016) (instructing, in
 a criminal case, that “the government is not required to prove more than one overt act”).
                                                           50
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                        INSTRUCTION # X: 42 U.S.C. § 1985(3) – Injuries Sustained

             The fifth element is that the Plaintiffs must show that they suffered injuries as a

 consequence of the conspiracy. Injuries in this context include physical injuries, pain and

 suffering, and demonstrable emotional harms, and any economic losses resulting therefrom.90

             Plaintiffs may satisfy this element by showing that a member of the conspiracy did, or

 caused to be done, the acts which injured Plaintiffs.91 To make this showing, Plaintiffs need not

 identify a particular person who caused their injuries.92 Instead, it is sufficient if Plaintiffs offer

 specific evidence which shows that their injuries were proximately caused by the Defendants’

 overt and unlawful actions.93 An act is a proximate cause of an injury if it was a substantial

 factor in bringing about that injury, and if the injury was a reasonably foreseeable consequence

 of the defendant’s act.94




 90
   See Hobson v. Wilson, 737 F.2d 1, 61 (D.C. Cir. 1984) (overruled in part on other grounds by Leatherman v.
 Tarrant Cnty. Narcotics Intelligence & Coordination Unit, 507 U.S. 163 (1993)) (explaining that under § 1985(3),
 ordinary principles of common law damages apply and plaintiffs may recover, among other things, for physical
 injuries, pain and suffering, and emotional distress); 42 U.S.C. § 1985(3) (providing an action to recover monetary
 damages for someone who is “injured in his person or property”).
 91
    42 U.S.C. § 1985(3) (“[I]f one or more persons engaged [in the conspiracy] do, or cause to be done, any act in
 furtherance of the object of such conspiracy, whereby another is injured in his person or property, . . . , the party so
 injured or deprived may have an action for the recovery of damages occasioned by such injury or deprivation,
 against any one or more of the conspirators” (emphasis added)).
 92
      See Sines, 324 F. Supp. 3d at 797.
 93
      See id. at 804.
 94
   5 Modern Federal Jury Instructions– Civil ¶ 87.04, Instruction No. 87-108 (2021) (instructing that a jury in a
 Section 1985(3) case should “receive the same general causation instructions given” in Instruction No. 87-79); 5
 Modern Federal Jury Instructions–Civil ¶ 87.03, Instruction No. 87-79 (“The third element that the plaintiff must
 prove is that the defendant’s acts were a proximate cause of injuries sustained by the plaintiff. An act is a proximate
 cause of an injury if it was a substantial factor in bringing about that injury, and if the injury was a reasonably
 foreseeable consequence of the defendant’s act.”).

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          In making this showing, each Plaintiff need not be able to point to an injury caused by

 each member of the conspiracy.95 Instead, the law holds conspirators liable for all the reasonably

 foreseeable acts of their co-conspirators.96 In other words, a defendant may be held liable even if

 he did not personally participate in the acts or plans of his co-conspirators or even if the

 defendant did not have actual knowledge of those acts or plans, so long as those acts or plans

 were reasonably foreseeable to the defendant.97 The reason for this is simply that a co-

 conspirator is deemed to be the agent of all other members of the conspiracy.98 Therefore, all of

 the co-conspirators bear responsibility for acts or plans that are undertaken to further the goals of

 the conspiracy.99

          Recall also that Plaintiffs are not required to show that all of the members of the alleged

 conspiracy were named or alleged in this lawsuit.100 Regardless of whether a person was named




 95
  Sines, 324 F. Supp. 3d at 795 (“Each Plaintiff need not be able to point to an injury incurred from each
 Defendant.”).
 96
    United States v. Cummings, 937 F.2d 941, 944 (4th Cir. 1991) (conspiracy law “makes conspirators liable for all
 reasonably foreseeable acts of their co-conspirators done in furtherance of the conspiracy”).
 97
    United States v. Burnley, No. 6:17-cr-013, Jury Instructions, ECF No. 122, at 21 (W.D. Va. Nov. 7, 2018) (Moon,
 J.); see also Simmons, 11 F.4th at 265 (“In other words, under certain circumstances, the act of one conspirator may
 be treated as the act of all. This means that all the conspirators may be convicted of a crime committed by only one
 of them, even though they did not all personally participate in that crime themselves. In other words, a member of a
 conspiracy who commits a crime during the existence or life of the conspiracy and commits the crime in order to
 further or somehow advance the goals or objectives of the conspiracy may be considered by you to be acting as the
 agent of the other members of the conspiracy. The illegal actions of this conspirator in committing the substantive
 crime may be attributed to other individuals who are at the time members of the conspiracy, so long as the
 commission of that substantive crime was reasonably foreseeable to those other individuals.”).
 98
    United States v. Burnley, No. 6:17-cr-013, Jury Instructions, ECF No. 122, at 21 (W.D. Va. Nov. 7, 2018) (Moon,
 J.).
 99
   Id.; see also 15A C.J.S. Conspiracy § 22 (2021) (“The fact of a conspiracy, if proved, makes the act of any one
 conspirator chargeable to all and thus allows for the imposition of joint and several liability for acts of
 coconspirators committed in furtherance of the common design or conspiracy.”).
 100
   United States v. Stallings, No. 6:17-cr-008, Jury Instructions, ECF No. 119, at 32 (W.D. Va. Feb. 28, 2019)
 (Moon, J.).

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 in this lawsuit, if you find by a preponderance of the evidence that he was a member of the

 conspiracy, then, any acts done or statements made in furtherance of the conspiracy by that

 person may also be considered against the Defendants.101




 101
       1 Modern Federal Jury Instructions, Criminal ¶ 19.01, Instruction No. 19-9 (2021).
                                                            53
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           INSTRUCTION # X: Organizational Defendants – Unincorporated Associations

            Some of the Defendants that Plaintiffs seek to hold liable may be organizations called

 “unincorporated associations.” An “unincorporated association” is a voluntary group of persons

 joined together by mutual consent for the purpose of promoting some stated object.102 Generally,

 unincorporated associations have the ability to prescribe the conditions or qualifications of their

 membership or their duties, to enlarge or reduce their membership, to enlarge or decrease the

 scope of their activities, and to dissolve the association.103 Thus, to find that one of these

 Defendants was an unincorporated association, you must find that it was an organized group

 made up of persons who became members of it voluntarily, and who were subject to certain rules

 or bylaws.104

            Any Defendant who you find qualifies as an unincorporated association may be held

 liable for the actions of any of its leaders or members who took part and joined in the conspiracy,

 if that person acted with the authorization of the association and to promote the association’s

 purpose.105 But an unincorporated association cannot be held liable for the acts of a member

 which it did not control or authorize, unless the association subsequently ratified the member’s


 102
       See Sines, 324 F. Supp. 3d at 805-806 (discussing the common law governing unincorporated associations)
 103
    Id. at 806 (“Generally, associations have the abilities to prescribe the conditions or qualifications of their
 membership or their duties, to enlarge or reduce their membership, to enlarge or decrease the scope of their
 activities, [and] to dissolve the association.” (quotation marks and citation omitted)).
 104
    Muniz v. Fairfax Cnty. Police Dep’t, No. 1:05-cv-466, 2005 WL 1838326, at *2 (E.D. Va. Aug. 2, 2005) (“An
 ‘unincorporated association’ is ‘a voluntary group of persons joined together by mutual consent for the purpose of
 promoting some stated object and suggests an organized group made from persons who become members of the
 association voluntarily but subject to certain rules or bylaws.”); accord Yonce v. Miners Mem’l Hosp. Ass’n, 161 F.
 Supp. 178, 186 (W.D. Va. 1958).
 105
    Hall v. Walters, 85 S.E.2d 729, 732-733 (S.C. 1955) (“All of the members of the association would be liable if
 one of the association officers or agents, acting for and on behalf of the union in the scope of his agency, took part
 and joined in the conspiracy.”); see 7 C.J.S. Associations § 75 (2021) (“[An unincorporated association] may be
 liable in tort for the wrongful acts of its members when acting collectively in the prosecution of the business for
 which it is organized.”).

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 actions.106 An intention to ratify may be inferred by words, conduct or silence on the part of the

 association, through its officers or members, which reasonably indicates the association’s desire

 to affirm the unauthorized actions.107 Ratification can only occur if the ratifier has full

 knowledge of the material facts surrounding the act in question.108

          In addition, if you find an organizational Defendant liable, a Defendant who is a member

 of that organization may also be held liable if the Defendant personally participated in the

 unlawful acts or if the Defendant set proceedings in motion or agreed to a course of action which

 culminated in the wrongful conduct.109 Mere membership in an unincorporated association is

 insufficient, however.110 Rather, Plaintiffs must show that the association possessed unlawful

 goals and that the Defendant held a specific intent to further those unlawful aims.111




 106
    7 C.J.S. Associations § 75 (2021) (“In the absence of authorization or ratification by all of its members, an
 association … cannot be held to account for the intentional act of an agent which results in a trespass”).
 107
    In re Uwimana, 274 F.3d 806, 812 (4th Cir. 2001), abrogated on other grounds, Bullock v. BankChampaign,
 N.A., 569 U.S. 267 (2013) (“An intention to ratify may be inferred by words, conduct or silence on the part of the
 principal that reasonably indicates its desire to affirm the unauthorized act.”).
 108
     Hodgin v. UTC Fire & Sec. Ams. Corp., 885 F.3d 243, 253 (4th Cir. 2018) (explaining that a “key element of
 ratification . . . is that a party ‘is not bound by a ratification made without knowledge of material facts’” (quoting
 Restatement (Third) of Agency § 4.06 & cmt. d.)).
 109
    Feldman v. N. British & Mercantile Ins. Co., 137 F.2d 266, 268 (4th Cir. 1943) (“Liability of a member may
 exist without personal participation in the unlawful act of a voluntary association if the member sets the proceedings
 in motion or agrees to a course of action which culminates in wrongful conduct.”).
 110
    Sweetman v. Barrows, 161 N.E. 272, 275 (Mass. 1928) (“Mere membership in a voluntary association does not
 make all the members liable for acts of their associates done without their knowledge or approval, and liability is not
 to be inferred from mere membership.”); Johnson v. Miller, 17 N.W. 34, 37 (Iowa 1884) (“Each member of [an
 unincorporated] association is liable only for the torts and wrongs he did, or aided in doing.”).
 111
    NAACP v. Claiborne Hardware Co., 458 U.S. 886, 920 (1982) (“[I]t is necessary to establish that the group itself
 possessed unlawful goals and that the individual held a specific intent to further those illegal aims.”).

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             INSTRUCTION # X: Organizational Defendants – Incorporated Entities112

            Some of the Defendants that Plaintiffs seek to hold liable may be corporations.

            Under the law, a corporation is considered to be a person. It can only act through its

 employees, agents, directors, or officers. Therefore, a corporation is responsible for the acts of its

 employees, agents, directors, and officers performed within the scope of authority.

            An “agent” is a person who performs services for a corporation under an express or

 implied agreement and who is subject to the corporation’s control or right to control the manner

 and means of performing the services.113 A corporation may be liable for the acts of its agents

 even if the agent does not receive compensation for his services.114

            For you to find a corporate Defendant liable, Plaintiffs must prove three elements by a

 preponderance of the evidence:

           First: That the alleged unlawful conduct was committed by an employee or agent of the
            corporation;

           Second: That, in committing the unlawful conduct, the employee or agent was acting
            within the scope of his employment or within his apparent authority; and

           Third: That, in committing the unlawful conduct, the employee or agent was acting on
            behalf of or for the benefit of the corporation.

            The term “scope of employment” is defined to include all those acts falling within the

 employee’s or agent’s general line of work, when they are motivated, at least in part, by an intent

 to benefit the corporation. An agent may act for his own benefit while also acting for the benefit

 of the corporation.


 112
       Adapted from Ruschky at 655-56.
 113
    Ninth Circuit Modern Federal Jury Instructions, ¶ 4.4; see also ARA Leisure Servs., Inc. v. NLRB, 782 F.2d 456,
 459-60 (4th Cir. 1986) (discussing agency principles); Cilecek v. Inova Health Sys. Servs., 115 F.3d 256, 259-60
 (4th Cir. 1997) (same); Noble Sec., Inc. v. MIZ Eng’g, Ltd., 611 F. Supp. 2d 513, 534 (E.D. Va. 2009) (same).
 114
       Restatement (Second) of Agency § 16 (1958).
                                                         56
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            When the act of an employee or agent is within the scope of his employment or within

 the scope of his apparent authority, the corporation is held legally responsible for it. This is true

 even though the actions of the employee or agent may be unlawful, and contrary to the

 corporation’s actual instruction. A corporation may be responsible for the action of its agents

 done or made within the scope of their authority, even though the conduct of the agents may be

 contrary to the corporation’s actual instruction, or contrary to the corporation’s stated position.

            In addition, a corporation that ratifies the acts of someone who was purporting to act as

 the corporation’s agent will be liable for the acts of that purported agent, provided that the

 principal made a conscious and affirmative decision to approve the relevant acts of the purported

 agent while in possession of full and complete knowledge of all relevant events.115




 115
       Ninth Circuit Modern Federal Jury Instructions, ¶ 4.7.
                                                            57
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              INSTRUCTION # X: Failure to Stop Conspiracy – 42 U.S.C. § 1986116

         A Defendant may be held liable under Section 1986 for failing to prevent a conspiracy to

 commit racially motivated violence even if he was not involved in that conspiracy. Defendants

 charged under Section 1986 with neglecting to intervene in a Section 1985(3) conspiracy do not

 have to personally share the same discriminatory animus.

         To prevail on their Section 1986 claim against any given Defendant, a Plaintiff must

 prove the existence of a Section 1985(3) conspiracy, and prove each of the following three

 elements by a preponderance of the evidence:

         1. First: That the Defendant knew about the wrongs conspired to be done in the Section

             1985(3) conspiracy, even if he was not involved with the conspiracy;

         2. Second: That the Defendant had the power to prevent or aid in preventing the wrongs

             committed as part of such conspiracy; and

         3. Third: That the Defendant either neglected or refused to prevent such wrongs.

         In other words, this claim does not require Plaintiffs to prove that a Defendant actually

 was involved in the conspiracy. It only requires Plaintiffs to prove that a Defendant knew of the




 116
   Adapted from 5 Modern Federal Jury Instructions– Civil ¶ 87.04, Instruction No. 87-111 (2021) (quotation marks
 omitted), which provides:
         Section 1986 provides a cause of action against anyone who has knowledge that any of the wrongs
         conspired to be done, and mentioned in Section 1985 of this title, are about to be committed, and
         having the power to prevent or aid in preventing the commission of the same, neglects or refuses
         to do so. Persons may be held liable under Section 1986 for failing to prevent a civil rights
         conspiracy even if they were not involved in that conspiracy. In other words, defendants charged
         under Section 1986 with neglecting to intervene in a Section 1985 conspiracy do not have to
         personally share the class-based animus. Thus, you must decide, if you have determined that there
         has been a violation of Section 1985, that the defendant knew about the wrongs conspired to be
         done in this Section 1985 conspiracy, even if he or she was not involved with the conspiracy, that
         the defendant had the power to prevent or aid in preventing the wrongs committed as part of such
         conspiracy, and that defendant either neglected or refused to prevent such wrongs.

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 conspiracy, had the power to prevent the wrongs conspired to be done, and either neglected or

 refused to prevent those wrongs.117




 117
       Adapted from 5 Modern Federal Jury Instructions– Civil ¶ 87.04, Instruction No. 87-111 (2021).

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                                   INSTRUCTION # X: Civil Conspiracy118

            In addition to Plaintiffs’ claim that Defendants conspired to commit racially motivated

 violence in violation of Section 1985(3), which is a claim brought under federal law, Plaintiffs

 also bring a claim that Defendants violated Virginia state law by conspiring to commit a variety

 of unlawful and tortious actions against them.

            Under Virginia law, persons who conspire together to commit one or more unlawful acts

 may be held liable for the injuries that result from that conspiracy. Plaintiffs allege that the

 Defendants conspired with one or more persons to commit one or more of the following

 unlawful acts:119

           Subjecting persons to acts of intimidation or harassment, motivated by racial, religious,
            or ethnic animosity in violation of Virginia Code § 8.01-42.1;

           Directing violence at another person, motivated by racial, religious, or ethnic animosity
            in violation of Virginia Code § 8.01-42.1;

           Directing vandalism at a person’s real or personal property, motivated by racial,
            religious, or ethnic animosity in violation of Virginia Code § 8.01-42.1;

           Committing an unwanted touching that was neither consented to, excused, or justified
            (battery);

           Engaging in an overt act intended to inflict bodily harm, or intended to place the
            victim in fear or apprehension of bodily harm (assault); and

           Causing a reasonable apprehension that force will be used unless a person willingly
            submits and causing him to submit to the extent that he is denied freedom of action (false
            imprisonment).

            Each of these alleged unlawful or tortious acts has its own specific elements that

 Plaintiffs must prove. For example, false imprisonment is an intentional restriction of a person’s


 118
    Adopted from Plaintiffs’ proposed jury instructions in US ex rel. Bunk v. Birkart Globistics GmbH & Co, 2011
 Jury Instr. LEXIS 655.
 119
       Tire Eng’g & Dist. v. Shandong Linglong Rubber Co., 682 F.3d 292, 311 (4th Cir. 2012).
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 freedom of movement without legal right. A false imprisonment results from the intentional use

 of force, words, or acts which the person restrained is afraid to ignore or to which he reasonably

 believes he must submit. It is not a legal defense to a claim of false imprisonment that one had

 an honest or a reasonable belief that he was acting lawfully in restricting another's freedom. Any

 intentional restriction of a person’s freedom that is without legal right is a false imprisonment.120

             In a short moment, I will instruct you on the elements that Plaintiffs must prove for the

 other unlawful or tortious acts alleged by Plaintiffs, which include assault and battery, and

 violations of the Virginia hate crimes statute.121

             Plaintiffs must prove by a preponderance of the evidence that an agreement to commit

 any one of these objects of the conspiracy existed. It would be sufficient if Plaintiffs prove by a

 preponderance of the evidence that the conspiracy existed to commit one of those offenses.122

             As I mentioned earlier, a conspiracy is an agreement between two or more persons to join

 together to accomplish some unlawful purpose.123 It is a kind of unlawful partnership in which

 each member becomes the agent of every other member.124 While the Plaintiffs must prove that

 the conspiracy had an unlawful objective, Plaintiffs need not prove that the conspiracy had only


 120
       Va. Model Civil Jury Instructions 38.000, 38.010.
 121
    United States v. Hale, 3:13-cr-280, (W.D.N.C.), transcript of Jury Instruction filed in United States v. Hale, 15-
 4642, Dkt. No. 16-4 at 426 (4th Cir. Feb. 23, 2016) (“I will not instruct you as to the statute and elements of those
 offenses at this time. When you hear my instructions as to those charges, you will use those statutes and elements in
 your deliberations on Count One, that being the conspiracy.”).
 122
       Id.
 123
    Ruschky at 61; United States v. Burnley, No. 6:17-cr-013, Jury Instructions, ECF No. 122, at 19 (W.D. Va. Nov.
 7, 2018) (Moon, J.); United States v. Stallings, No. 6:17-cr-008, Jury Instructions, ECF No. 119, at 32 (W.D. Va.
 Feb. 28, 2019) (Moon, J.); United States v. Bradley, No. 3:16-cr-500008, Jury Instructions, ECF No. 495, at 17
 (W.D. Va. July 17, 2017) (Moon, J.); Poe, 47 F.3d at 1377 (“[A] civil conspiracy under section 1985 is a
 combination of two or more persons acting in concert to commit an unlawful act.”).
 124
    Ruschky at 61; United States v. Burnley, No. 6:17-cr-013, Jury Instructions, ECF No. 122, at 19 (W.D. Va. Nov.
 7, 2018) (Moon, J.).

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 an unlawful purpose.125 Co-conspirators may have legal as well as unlawful objectives.126 A

 conspiracy may have several objectives, but if any one of them, even if it is only a secondary

 objective, is to violate the law, then the conspiracy is unlawful.127

             Plaintiffs do not need to prove that the alleged conspirators entered into any formal

 agreement or that they directly stated between themselves all of the details of the scheme.128

 Plaintiffs are also not required to show that all the defendants they alleged as members of the

 conspiracy were, in fact, parties to the agreement, or that all of the members of the alleged

 conspiracy were named or alleged in this lawsuit, or that all of the people whom the evidence

 shows were actually members of the conspiracy agreed to all of the means or methods set out in

 the complaint.129

             Plaintiffs may prove a conspiracy by circumstantial evidence, including evidence of a

 Defendant’s relationship with other members of the conspiracy, the length of any such

 association, the Defendant’s attitude and conduct, and the nature of the conspiracy.130




 125
   United States v. Bradley, No. 3:16-cr-500008, Jury Instructions, ECF No. 495, at 18 (W.D. Va. July 17, 2017)
 (Moon, J.).
 126
       Id.
 127
       Id.
 128
    Id. at 19; United States v. Burnley, No. 6:17-cr-013, Jury Instructions, ECF No. 122, at 24 (W.D. Va. Nov. 7,
 2018) (Moon, J.); United States v. Stallings, No. 6:17-cr-008, Jury Instructions, ECF No. 119, at 32 (W.D. Va. Feb.
 28, 2019) (Moon, J.).
 129
   United States v. Stallings, No. 6:17-cr-008, Jury Instructions, ECF No. 119, at 32 (W.D. Va. Feb. 28, 2019)
 (Moon, J.).
 130
    Ruschky at 61; United States v. Bradley, No. 3:16-cr-500008, Jury Instructions, ECF No. 495, at 19 (W.D. Va.
 July 17, 2017) (Moon, J.).

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          The law holds conspirators liable for all the reasonably foreseeable acts of their co-

 conspirators.131 The reason for this is simply that a co-conspirator is deemed to be the agent of

 all other members of the conspiracy.132 Therefore, all of the co-conspirators bear responsibility

 for acts or plans that are undertaken to further the goals of the conspiracy.133




 131
    Cummings, 937 F.2d at 944 (conspiracy law “makes conspirators liable for all reasonably foreseeable acts of their
 co-conspirators done in furtherance of the conspiracy”).
 132
   United States v. Burnley, No. 6:17-cr-013, Jury Instructions, ECF No. 122, at 21 (W.D. Va. Nov. 7, 2018)
 (Moon, J.).
 133
    Id.; see also 15A C.J.S. Conspiracy § 22 (2021) (“The fact of a conspiracy, if proved, makes the act of any one
 conspirator chargeable to all and thus allows for the imposition of joint and several liability for acts of
 coconspirators committed in furtherance of the common design or conspiracy.”).

                                                          63
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                        INSTRUCTION # X: Violation of Virginia Code § 8.01-42.1

            Plaintiffs Wispelwey, Muñiz, Willis, Sines, Blair, Martin, Alvarado, and Romero bring a

 claim against Defendants Fields, Kline, Spencer, Kessler, Ray, and Cantwell under Virginia

 Code § 8.01-42.1 (often referred to as the Virginia’s hate crimes statute) for racial, religious or

 ethnic harassment, violence or vandalism.

            To prove this claim, Plaintiffs must prove, by a preponderance of the evidence, that:134

            1. Defendants subjected them to acts of intimidation and/or harassment, violence

                 directed at their persons, and/or vandalism directed against their property. Only one

                 of these acts (intimidation, harassment, violence or vandalism) need be shown.

            2. Defendants’ actions were motivated by racial, religious, or ethnic animosity.

            An act of intimidation or harassment can include the use of slurs, threats, or other

 intimidation tactics.135 The term “violence” has its ordinary meaning, and can also include (but

 is not limited to), an assault and/or a battery by Defendants against Plaintiffs as previously

 defined.136 The term “vandalism” has its ordinary meaning, and includes the deliberate

 destruction or damage to property.




 134
       Virginia Code § 8.01-42.1; Proposed Jury Instruction, Southern v. Grajek, No. 00-127 (Va. Cir. Ct. 2000).
 135
    Johnson v. Hugo’s Skateway, 974 F.2d 1408, 1413 (4th Cir. 1992); Sines v. Kessler, 324 F. Supp. 3d 765, 800
 (W.D. Va. 2018) (noting that courts have found the statute satisfied when defendants used racial slurs, and when
 defendants have apprehended or called the police on plaintiffs).
 136
       Frazier v. Cooke, No. 4:17-CV-54, 2017 WL 5560864, at *7 (E.D. Va. Nov. 17, 2017).
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                                 INSTRUCTION # X: Assault and Battery

             Plaintiffs Muñiz, Sines, Blair, Martin, Alvarado, Baker, and Romero bring a claim for

 assault and battery under Virginia state law against Defendant Fields.

             “Battery” means an intentional and unwanted touching of another without justification,

 excuse, or the consent of the other.137

             “Assault” means any threatening act that is intended to put another person in reasonable

 fear of imminent physical injury. Words alone are never assault.138 To succeed on their claim of

 assault and battery, Plaintiffs Muñiz, Sines, Blair, Martin, Alvarado, Baker, and Romero must

 prove by a preponderance of the evidence that: 139

        1. Defendant Fields engaged in an act intended to inflict bodily harm on Plaintiffs;

        2. As a result of Defendant Fields’s actions, Plaintiffs experienced apprehension of harmful

             and/or offensive bodily contact or experienced such contact; and

        3. If Plaintiffs did in fact experience bodily contact, it was not consented to, justified, or

             excused.

             Under Virginia law, it is not necessary for Plaintiffs to prove that the unwanted touching

 resulted in injury to their bodily persons. For the purposes of assault and battery, it is sufficient

 to establish that the bodily contact harmed their mind or feelings.140




 137
    Va. Model Civil Jury Instructions 36.000; see also Wotten v. Virginia, 6:14-cv-00013-NKM-RSB (W.D. Va. Oct.
 19, 2016) (Moon, J.); Koffman v. Garnett, 574 S.E.2d 258, 261 (2003); Va. Prac. Jury Instruction §46:1.
 138
    Va. Model Civil Jury Instructions 36.010; see also Carter v. Commonwealth, 606 S.E.2d 839, 841 (2005); Va.
 Prac. Jury Instruction §46:3.
 139
       Parish v. Commonwealth, 693 S.E.2d 315, 318-19 (2010).
 140
       Id. at 318.
                                                         65
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                    INSTRUCTION # X: Intentional Infliction of Emotional Distress

             Plaintiffs Muñiz, Sines, Blair, Martin, Alvarado, Baker, and Romero also bring a claim

 for intentional infliction of emotional distress against Defendant Fields.

             As I mentioned earlier, to prove this claim, Plaintiffs must meet a different standard of

 proof than the “preponderance of the evidence” standard, which applies to all of Plaintiffs’ other

 claims. Plaintiffs must prove this claim by “clear and convincing evidence.” Clear and

 convincing evidence is the measure of proof that will produce in the mind of a juror a firm belief

 or conviction that he has proved the issue.141 It is an intermediate standard, requiring more than a

 preponderance of the evidence, but not requiring the extent of such certainty as is required

 beyond a reasonable doubt in criminal cases. It does not mean clear and unequivocal; it simply

 means that you are convinced that it is highly probable that it is true.142

             Thus, to prove a claim for intentional infliction of emotional distress, Plaintiffs must

 show by clear and convincing evidence each of the following four things:143

        1. That the defendant had the specific purpose of inflicting emotional distress upon the
           plaintiff; intended specific conduct and knew, or should have known that his conduct
           would likely result in emotional distress;

        2. The defendant’s conduct was outrageous or intolerable in that it offends generally
           accepted standards of decency and morality;144

        3. That the plaintiff suffered severe emotional distress. Severe emotional distress is
           emotional distress so severe that no reasonable person could be expected to endure it;145
           and

 141
       Va. Model Civil Jury Instructions 3.110.
 142
    Scott v. Slagle, 6:12-cv-00013-NKM-RSB; Va. Model Civil Jury Instructions 3.110 (“When a party has the
 burden of proving an issue by clear and convincing evidence, he must produce evidence that creates in your minds a
 firm belief or conviction that he has proved the issue.”); Ruth v. Fletcher, 237 Va. 366, 373 (1989).
 143
       Va. Model Civil Jury Instructions 33.300.
 144
       Id.
 145
       Russo v. White, 400 S.E.2d 160, 163 (1991).
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        4. That the plaintiff’s emotional distress was proximately caused by the defendant’s
           conduct.

 No physical injury is needed to establish a claim for emotional distress.146 Again, this standard

 of proof applies only to this claim. In proving emotional injuries resulting from any other claim

 in this case, Plaintiffs need only prove those injuries by a preponderance of the evidence.




 146
       Womack v. Eldridge, 215 Va. 338, 342 (1974).
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                                 INSTRUCTION # X: Negligence Per Se

          Plaintiffs Muñiz, Sines, Blair, Martin, Alvarado, Baker, and Romero bring a claim for

 negligence per se against Defendant Fields. Negligence per se is the violation of a standard of

 care or duty created by a statute, such that the violation of the statute constitutes negligence

 itself.147

          To establish negligence per se, those Plaintiffs must prove by a preponderance of the

 evidence that:

       1) Defendant Fields violated a statute enacted for public safety;

       2) Plaintiffs belong to a class of persons and suffered the type of harm the statute was
          designed to protect;

       3) The statutory violation was the proximate cause of the injury.148

          In this case, Plaintiffs Muñiz, Sines, Blair, Martin, Alvarado, Baker, and Romero claim

 that Defendant Fields violated Virginia Code 18.2-46.5, which makes it a felony to commit or

 conspire to commit, or to aid and abet, the commission of an act of terrorism. An “act of

 terrorism” is an act of violence committed within the Commonwealth of Virginia with the intent

 to intimidate the civilian population at large. I have determined that this statute was enacted for

 public safety, and that Plaintiffs belong to a class of persons alleged to have suffered the type of

 harm the statute was designed to protect. That means you need only decide whether Plaintiffs

 have proven that Defendant Fields violated that statute, and, if so, whether that violation was the

 proximate cause of their alleged injuries.




 147
   Schlimmer v. Poverty Hunt Club, 597 S.E.2d 43, 46 (2004); Plaintiff’s Proposed Jury Instructions, Kuhn v.
 United Inv. Va., No.7:008CV00290, 2009 WL 5054042 (W.D. Va. Sept. 8, 2009).
 148
    Schlimmer, 597 S.E.2d at 46 (citing Halterman v. Radisson Hotel Corp., 523 S.E.2d 823, 825 (2000); Virginia
 Elec. & Power Co. v. Savoy Constr. Co., 294 S.E.2d 811, 817 (1982).
                                                        68
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            To prove that Defendant Fields violated Virginia Code 18.2-46.5, Plaintiffs Muñiz, Sines,

 Blair, Martin, Alvarado, Baker, and Romero must show:

                 1) That Defendant Fields did commit or conspire to commit an act of violence in
                    Virginia; and

                 2) That he committed that act with the intent to intimidate the civilian population.149

            As I mentioned, Plaintiffs must also establish that the violation of the statute was the

 proximate cause of their injuries. A proximate cause of an injury or damage is a cause that, in

 natural and continuous sequence, produces the injury or damage. It is a cause without which the

 accident, injury, or damage would not have occurred.150 There may be more than one proximate

 cause of an injury. You may find that Defendant Fields’s violation of Virginia Code 18.2-46.5,

 committing, conspiring and aiding and abetting acts of terrorism, was the proximate cause of

 Plaintiffs’ injuries even if there were other acts or omissions that caused such injuries.151




 149
    See Virginia Code 18.2-46.5; 18.2-46.4 (defining “an act of terrorism” as “an act of violence … that would be an
 act of violence if committed within the Commonwealth committed within or outside the Commonwealth with the
 intent to intimidate a civilian population at large”).
 150
    Virginia Model Civil Jury Instructions 5.000; see also Closing Jury Instructions at 17, Wood v. Arnold, No. 6:18-
 cv-00053 (W.D. Va. Apr. 17, 2019) (Moon, J.).
 151
       Virginia Model Civil Jury Instructions 5.005.
                                                         69
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                                  INSTRUCTION # X: First Amendment152

            Certain Defendants make the claim that their activities constituted free speech and

 assembly protected by the First Amendment to the United States Constitution.

            The First Amendment does not provide a defense to conspiracy to engage in unlawful

 conduct.153 If you find that the Defendants engaged in the violations of law I have instructed you

 on, including a conspiracy as alleged by Plaintiffs, you may not find that the Defendants’ actions

 were protected by the First Amendment.154 The violations of law I have instructed you on are

 not protected by the First Amendment. The fact that an agreement to engage in illegal conduct

 necessarily takes the form of words also does not confer upon it, or upon the underlying conduct,

 protection under the First Amendment.155




 152
    Pattern Jury Instructions for Federal Criminal Cases, District of South Carolina (2016), available at
 https://www.govinfo.gov/content/pkg/USCOURTS-ca4-16-04226/pdf/USCOURTS-ca4-16-04226-0.pdf; see also
 Sines v. Kessler, 324 F. Supp. 3d 765, 801-04 (W.D. Va. 2018) (Moon, J.).
 153
    Rice v. Paladin Enters., Inc., 128 F.3d 233, 243 (4th Cir. 1997); United States v. Fleschner, 98 F.3d 155, 158-59
 (4th Cir. 1996); see also United States v. Spock, 416 F.2d 165 (1st Cir. 1969); New York v. Ferber, 458 U.S. 747
 (1982).
 154
     Sines v. Kessler, 324 F. Supp. 3d 765, 802 (W.D. Va. 2018) see also United States v. Amawi, 69 F.3d 457, 482
 (6th Cir. 2012) (“Forming an agreement to engage in criminal activities-in contrast with simply talking about
 religious or political beliefs- is not protected speech.”).
 155
       Brown v. Hartlage, 456 U.S. 45, 55 (1982).
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                                      INSTRUCTION # X: Self-Defense156

            Certain Defendants have claimed that much of their conduct, including preparations they

 made in advance of, and actions they took during, the events in Charlottesville, Virginia on

 August 11 and 12, 2017, were motivated by considerations of self-defense.

            As I mentioned earlier, if Plaintiffs prove that the alleged conspiracy was motivated, at

 least in part, by discriminatory racial animus, then it is no defense that Defendants also possessed

 some other motive, such as a desire to join together for mutual protection. Thus, if you find that

 Plaintiffs proved by a preponderance of the evidence each element of their claim under 42 U.S.C.

 § 1985(3), considerations of self-defense will not defeat that claim. But in deciding whether

 Plaintiffs have first proved their Section 1985(3) claim, you may consider Defendants’

 assertions, along with any supporting evidence from any party, that they were motivated solely

 by self-defense, rather than by racial animus or a desire to commit racially motivated violence.

            Separately, principles of self-defense may be a relevant consideration in determining

 whether Defendants should be held liable for Plaintiffs’ claims under Virginia state law for civil

 conspiracy; racial, religious or ethnic harassment, violence or vandalism; and assault and battery.

            The following law governs Defendants’ claim of self-defense.

            Self-defense is an affirmative defense which a Defendant bears the burden to prove by

 the preponderance of the evidence. The law recognizes that a person who suffers, or is threatened

 with, an assault or battery that he did not provoke has a right to use as much force in self-defense

 as is reasonably necessary to protect himself.157 A person who is being assaulted, however, may



 156
       Va. Model Civil Jury Instructions 36.020 and 36.060.
 157
    Va. Model Civil Jury Instructions 36.020 (“A person who suffers, or is threatened with, an assault and battery
 that he did not provoke has a right to use as much force in self-defense to protect himself as is reasonably
 necessary.”).
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 not react with reasonable force unless he has reason to believe, and does believe, that it is

 necessary to avoid threatened bodily injury. A person who is being subjected to a battery may

 use such reasonably force as is necessary to repeal the threat of bodily injury. Force is

 “reasonable” only if it was no more or no greater force or means than the person in fact believed

 reasonably necessary, and no more or no greater force or means than that which would appear to

 a reasonable person, under like circumstances, to be necessary, in order to prevent bodily injury

 to himself.158

             Thus, to prove self-defense, a Defendant bears the burden of proving by a preponderance

 of the evidence that:

             (1) A Plaintiff, unprovoked, threatened the Defendant with assault or battery such that the
                 Defendant reasonably believed that the Plaintiff was going to inflict bodily injury on
                 him;

             (2) the Defendant, in order to avoid bodily injury, used force;

             (3) the amount of force the Defendant used was no greater than the amount he believed
                 was necessary to prevent bodily injury; and

             (4) the amount of force the Defendant used was no greater than the amount or means a
                 reasonable person would have used in like circumstances in order to prevent bodily
                 injury.159

             A Defendant may only use the amount of force reasonably necessary to avoid the harm

 he believes will be inflicted upon himself. If a Defendant reasonably believes that nondeadly

 force will be used against him, a Defendant may only use nondeadly force against that person in

 self-defense.160 Deadly force is only allowable as a defense when a Defendant reasonably

 believes deadly force will be used upon himself.


 158
       Davis v. Six Sixteen, 122 F.3d 1060, at *3 (4th Cir. 1997) (per curiam).
 159
       Id.
 160
       United States v. Black, 692 F.2d 314, 318 (4th Cir. 1982).
                                                             72
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                                                   DAMAGES

                               INSTRUCTION # X: Damages Generally161

          If Plaintiffs have proven one or more of their claims, then you must determine the

 damages to which Plaintiffs are entitled. However, you should not infer that Plaintiffs are

 entitled to damages merely because I am giving you these instructions. I give you these

 instructions on damages merely because I am required to charge you on all phases of the case

 that you might have to consider.

          Under the law, the purpose of damages is to award, as far as possible, just and fair

 compensation for the losses which resulted from Defendants’ unlawful conduct. If you find the

 Defendants are liable on the claims as I have explained them, then you must award Plaintiffs

 sufficient damages to compensate them for all injuries proximately caused by Defendants’

 conduct. These damages are known as “compensatory damages.” Compensatory damages seek

 to make a Plaintiff whole—that is, to compensate the Plaintiff for damages he or she suffered. In

 determining the compensatory damages to which Plaintiffs are entitled, you shall consider any of

 the following injuries that you believe Plaintiffs have proven by a preponderance of the evidence

 were caused by the Defendants’ unlawful actions:

       1) Any bodily injuries they sustained and their effect on Plaintiffs’ health according to their
          degree and probable duration;

       2) Any physical pain and suffering, mental anguish, or emotional distress they suffered in
          the past and any they are reasonably certain to experience in the future;

       3) The reasonable value of any medical expenses incurred in the past and any that may be
          reasonably expected to occur in the future;

       4) Any disfigurement or deformity and any associated humiliation or embarrassment;

       5) Any inconvenience caused in the past and any that probably will be caused in the future;
 161
    Va. Model Civil Jury Instructions No. 9.000-9.030 (2020); see also Sand et al., Modern Federal Jury Instructions-
 Civil 4.8 (2021) (similar instructions).
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    6) Any earnings that Plaintiffs lost because they were unable to work at their callings;

    7) Any loss of earnings and lessening of earning capacity, or either, that Plaintiffs may
       reasonably be expected to sustain in the future; or

    8) Any property damage Plaintiffs sustained.

        Your verdict shall be for a sum that will fully and fairly compensate Plaintiffs for the

 damages sustained as a result of Defendants’ unlawful actions.

        Plaintiffs are not required to prove the exact amount of their damages, but they must

 show sufficient facts and circumstances to permit you to make a reasonable estimate of each

 item. If Plaintiffs fail to do so, then they cannot recover for that item.

        During the trial, some of the lawyers may have argued that the Plaintiffs should be

 awarded a specific figure of damages. As I have instructed you before, the arguments of counsel,

 including any statements about the appropriate damages award, are not evidence. You as the jury

 must determine the appropriate measure of damages based solely on the evidence before you.




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                                  INSTRUCTION # X: Duplicate Damages162

            If you find that Plaintiffs are entitled to damages, you must be careful not to award

 double or duplicate damages. Double or duplicate damages means more than one award of

 money for the same loss, injury, violation, wrong or damage. In this case, Plaintiffs are seeking

 damages from Defendants under a number of claims. Where the same acts cause the same injury

 or loss to Plaintiffs under more than one claim, the Plaintiffs may recover only once for that

 injury or loss. To recover damages under more than one of the claims, Plaintiffs must prove

 Defendants’ liability for each of those claims and must present evidence of distinct, separate

 injuries or losses under those claims.

            With respect to punitive damages, however, you may make separate awards on each

 claim that is established.




 162
       Adapted from Sand et al., Modern Federal Jury Instructions-Civil, Instruction 87-91 (2021).
                                                            75
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                            INSTRUCTION # X: Collateral Source Rule163

         If you find for Plaintiffs on liability, in determining the damages to which a Plaintiffs is

 entitled, you shall not reduce a Plaintiffs’ damages award based on any evidence tending to show

 that he or she has received insurance benefits, employment or government benefits, or gratuities

 to help offset the losses he or she incurred as a result of Defendants’ unlawful conduct.




 163
    See Restatement (Second) of Torts § 920A cmts. b, c (1979); Bender & Co., 1 Jury Instructions on Medical
 Issues 11-5 (2021).
                                                        76
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                                INSTRUCTION # X: Punitive Damages164

         Punitive damages are awarded, in the discretion of the jury, to punish a defendant for

 extreme or outrageous conduct, and to deter or prevent a defendant and others like him from

 committing such conduct in the future.

         You may award Plaintiffs punitive damages if you find that the acts or omissions of a

 Defendant were done maliciously or wantonly. An act or failure to act is maliciously done if it is

 prompted by ill will or spite towards the injured person. An act or failure to act is wanton if done

 with a reckless or callous disregard for the rights of the injured person. Plaintiffs have the burden

 of proving, by a preponderance of the evidence, that a Defendant acted maliciously or wantonly

 with regard to the Plaintiffs’ rights.

         If you find by a preponderance of the evidence that a Defendant acted with malicious

 intent to violate the Plaintiffs’ federal rights or unlawfully injure him, or if you find that a

 Defendant acted with a callous or reckless disregard of the Plaintiffs’ rights, then you may award

 punitive damages. An award of punitive damages, however, is discretionary; that is, if you find

 that the legal requirements for punitive damages are satisfied, then you may decide to award

 punitive damages, or you may decide not to award them.

         In making this decision, you should consider the underlying purpose of punitive damages.

 Punitive damages are awarded in the jury’s discretion to punish a defendant for outrageous

 conduct or to deter him and others like him from performing similar conduct in the future. Thus,

 in deciding whether to award punitive damages, you should consider whether a Defendant may

 be adequately punished by an award of actual damages only, or whether the conduct is so




 164
   Adapted from Sand et al., 5 Modern Federal Jury Instructions, Instruction No. 97-92 (2021); see also Virginia
 Model Civil Jury Instructions 9.080 (similar instructions).
                                                        77
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 extreme and outrageous that actual damages are inadequate to punish the wrongful conduct. You

 should also consider whether actual damages, standing alone, are likely to deter or prevent this

 defendant from similar wrongful conduct in the future, if it was in fact wrongful, or whether

 punitive damages are necessary to provide deterrence. Finally, you should consider whether

 punitive damages are likely to deter or prevent other persons from performing wrongful acts

 similar to those the Defendant may have committed.

        If you decide to award punitive damages, these same purposes should be kept in mind as

 you determine the appropriate sum of money to be awarded as punitive damages. That is, in

 fixing the sum to be awarded, you should consider the degree to which the Defendant should be

 punished for his wrongful conduct, and the degree to which an award of one sum or another will

 deter defendant or persons like him from committing wrongful acts in the future.




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       Plaintiffs respectfully reserve the right to propose alternative instructions on any

 affirmative defense Defendants may advance in their proposed jury instructions.




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 Date: October 12, 2021




                                           Respectfully submitted,



                                           Roberta A. Kaplan (pro hac vice)
                                           Michael L. Bloch (pro hac vice)
                                           Yotam Barkai (pro hac vice)
                                           Emily C. Cole (pro hac vice)
                                           Alexandra K. Conlon (pro hac vice)
                                           Jonathan R. Kay (pro hac vice)
                                           KAPLAN HECKER & FINK LLP
                                           350 Fifth Avenue, 63rd Floor
                                           New York, NY 10118
                                           Telephone: (212) 763-0883
                                           rkaplan@kaplanhecker.com
                                           mbloch@kaplanhecker.com
                                           ybarkai@kaplanhecker.com
                                           ecole@kaplanhecker.com
                                           aconlon@kaplanhecker.com
                                           jkay@kaplanhecker.com
                                           Counsel for Plaintiffs




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Case 3:17-cv-00072-NKM-JCH Document 1224 Filed 10/12/21 Page 81 of 84 Pageid#:
                                  20640




   Of Counsel:

   Roberta A. Kaplan (pro hac vice)          Karen L. Dunn (pro hac vice)
   Julie E. Fink (pro hac vice)              Jessica Phillips (pro hac vice)
   Gabrielle E. Tenzer (pro hac vice)        William A. Isaacson (pro hac vice)
   Michael L. Bloch (pro hac vice)           Arpine S. Lawyer (pro hac vice)
   Yotam Barkai (pro hac vice)               Giovanni Sanchez (pro hac vice)
   Emily C. Cole (pro hac vice)              Matteo Godi (pro hac vice)
   Alexandra K. Conlon (pro hac vice)        PAUL, WEISS, RIFKIND, WHARTON &
   Jonathan R. Kay (pro hac vice)            GARRISON LLP
   Benjamin D. White (pro hac vice)          2001 K Street, NW
   KAPLAN HECKER & FINK LLP                  Washington, DC 20006-1047
   350 Fifth Avenue, Suite 7110              Telephone: (202) 223-7300
   New York, NY 10118                        Fax: (202) 223-7420
   Telephone: (212) 763-0883                 kdunn@paulweiss.com
   rkaplan@kaplanhecker.com                  jphillips@paulweiss.com
   jfink@kaplanhecker.com                    wisaacson@paulweiss.com
   gtenzer@kaplanhecker.com                  alawyer@paulweiss.com
   mbloch@kaplanhecker.com                   gsanchez@paulweiss.com
   ybarkai@kaplanhecker.com                  mgodi@paulweiss.com
   ecole@kaplanhecker.com
   aconlon@kaplanhecker.com                  Makiko Hiromi (pro hac vice)
   jkay@kaplanhecker.com                     Nicholas A. Butto (pro hac vice)
   bwhite@kaplanhecker.com                   Agbeko Petty (pro hac vice)
                                             PAUL, WEISS, RIFKIND, WHARTON &
                                             GARRISON LLP
                                             1285 Avenue of the Americas
                                             New York, NY 10019-6064
                                             Telephone: (212) 373-3000
                                             Fax: (212) 757-3990
                                             mhiromi@paulweiss.com
                                             nbutto@paulweiss.com
                                             apetty@paulweiss.com

   Robert T. Cahill (VSB 38562)              Alan Levine (pro hac vice)
   COOLEY LLP                                Philip Bowman (pro hac vice)
   11951 Freedom Drive, 14th Floor           COOLEY LLP
   Reston, VA 20190-5656                     55 Hudson Yards
   Telephone: (703) 456-8000                 New York, NY 10001
   Fax: (703) 456-8100                       Telephone: (212) 479-6260
   rcahil@cooley.com                         Fax: (212) 479-6275
                                             alevine@cooley.com

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                                                pbowman@cooley.com
                                                J. Benjamin Rottenborn (VSB 84796)
   David E. Mills (pro hac vice)                WOODS ROGERS PLC
   Joshua M. Siegel (VSB 73416)                 10 South Jefferson St., Suite 1400
   Caitlin B. Munley (pro hac vice)             Roanoke, VA 24011
   Samantha A Strauss (pro hac vice)            Telephone: (540) 983-7600
   Alexandra Eber (pro hac vice)                Fax: (540) 983-7711
   Daniel Philip Roy, III (pro hac vice)        brottenborn@woodsrogers.com
   Allegra Flamm (pro hac vice)
   Gemma Seidita (pro hac vice)
   Khary Anderson (pro hac vice)
   COOLEY LLP
   1299 Pennsylvania Avenue, NW
   Suite 700
   Washington, DC 20004
   Telephone: (202) 842-7800
   Fax: (202) 842-7899
   dmills@cooley.com
   jsiegel@cooley.com
   cmunley@cooley.com
   sastrauss@cooley.com
   aeber@cooley.com
   droy@cooley.com
   aflamm@cooley.com
   gseidita@cooley.com
   kjanderson@cooley.com


                                                                      Counsel for Plaintiffs




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                                 CERTIFICATE OF SERVICE
        I hereby certify that on October 12, 2021, I served the following via electronic mail:

  Elmer Woodard                                    David L. Campbell
  5661 US Hwy 29                                   Justin Saunders Gravatt
  Blairs, VA 24527                                 Duane, Hauck, Davis & Gravatt, P.C.
  isuecrooks@comcast.net                           100 West Franklin Street, Suite 100
                                                   Richmond, VA 23220
  James E. Kolenich                                dcampbell@dhdglaw.com
  Kolenich Law Office                              jgravatt@dhdglaw.com
  9435 Waterstone Blvd. #140
  Cincinnati, OH 45249                             Counsel for Defendant James A. Fields, Jr.
  jek318@gmail.com

  Counsel for Defendants Jason Kessler, Nathan
  Damigo, and Identity Europa, Inc. (Identity
  Evropa)

  Bryan Jones                                      William Edward ReBrook, IV
  106 W. South St., Suite 211                      The ReBrook Law Office
  Charlottesville, VA 22902                        6013 Clerkenwell Court
  bryan@bjoneslegal.com                            Burke, VA 22015
                                                   edward@rebrooklaw.com
  Counsel for Defendants Michael Hill, Michael
  Tubbs, and League of the South               Counsel for Defendants Jeff Schoep, National
                                               Socialist Movement, Nationalist Front,
                                               Matthew Parrott, Traditionalist Worker Party
                                               and Matthew Heimbach

  Joshua Smith
  Smith LLC
  807 Crane Avenue
  Pittsburgh, PA 15216-2079
  joshsmith2020@gmail.com

  Counsel for Defendants Matthew Parrott,
  Traditionalist Worker Party and Matthew
  Heimbach




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         I hereby certify that on October 12, 2021, I also served the following via mail and electronic
 mail:

  Richard Spencer                                    Christopher Cantwell
  richardbspencer@icloud.com
  richardbspencer@gmail.com                          Christopher Cantwell 00991-509
                                                     Grady County Law Enforcement Center
                                                     215 N. 3rd St.
                                                     Chickasha, OK 73018

                                                     and

                                                     Christopher Cantwell 00991-509
                                                     USP Marion, 4500 Prison Rd.
                                                     P.O. Box 2000
                                                     Marion, IL 62959

  Vanguard America                                   Robert “Azzmador” Ray
  c/o Dillon Hopper                                  azzmador@gmail.com
  dillon_hopper@protonmail.com

  Elliott Kline a/k/a Eli Mosley
  eli.f.mosley@gmail.com
  deplorabletruth@gmail.com
  eli.r.kline@gmail.com


                                                     _________________________

                                                     Michael L. Bloch (pro hac vice)
                                                     Kaplan Hecker & Fink LLP

                                                     Counsel for Plaintiffs




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